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                         EXHIBIT G
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                 U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
              (Exhibits to Declaration of Christopher S. Hickey
                In Support of Motion for Summary Judgment)
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      1                   UNITED STATES DISTRICT COURT

      2                  SOUTHERN DISTRICT OF CALIFORNIA

      3

      4    D.F.,   a minor, by and through his

      5    Guardian Ad Litem, TASHINA AMADOR,

      6    individually and as Successor in

      7    interest to Alexis Fontalvo,

      8    deceased,     and T.L.,       a minor, by

      9    and through her Guardian Ad Litem,

     10    TASHINA AMADOR

     11                    Plaintiffs

     12    vs.                                                      Case No,   13-cv-00331

     13    SIKORSKY AIRCRAFT

     14    CORPORATION,        et al.

     15                    Defendants

     16    _____________________________________/




     17

     18                    The Videotaped deposition of WILLIAM MELLEN

     19    was held on Tuesday,           February 21,         2017,     commencing at

     20    12:00 P.M.,     at the offices of Naval Air Systems Command

     21    Office of Counsel,           47085 Buse Road, Building 462,

     22    Patuxent River, Maryland 20670,                  before Heather Bjork

     23    Avalos,   a Notary Public.

     24    REPORTED BY:        Heather Bjork Avalos

     25    Pages 1   -   105


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          1   I don’t remember. It predated 2006. It was funded                1   mission system that if the Kapton caused problems could
          2   when I was there. Phase 1 was fully funded.                      2   cause a mission to be aborted, that was thrown in
          3        Q And then moving forward with the                          3   there. And then everything else was divided among
          4   installation, that was already also in place by the             4    Phase 2 and Phase 3.
          5   time you arrived in 2006?                                        5            But the reason it’s hard to say when stuff
          6        A Yes.                                                      6   stopped and started is because they weren’t serial
          7        Q So by 2006, Phase I had begun?                            7   phases. They were concurrent phases. So a lot of
          8        A Yes.                                                      8   times Phase 1 and 2 were going on at the same time.
          9        Q Do you know what percentage of it was done               9    Certain aircraft had finished Phase 1 and there was --
        10    at that point?                                                 10    you know, they may have been -- probably eighty percent
        11         A On the-- I think on the MH side, if I                   11    of the Phase 1 CH completed by the time I got there.
        12    remember right -- I don’t the exact percentages. I             12    These ones who were now going through Phase 2, but
        13    think -- I know that the MH side was more complete than        13    there are still Phase 1 aircraft to reach as well. So
        14    the CH side. But there were only seventeen -- or               14    it’s hard to say when.
        15    nineteen aircraft of the thirty MHs and, like,                 15             I can tell you that I remember that the
        16    ninety-six out of 157 CH’s that were affected. I               16    first Kapton-free aircraft came out around 2011 when we
        17    believe the MH was one or two aircraft away from being         17    finally -- the first -- through all three phases. It
        18    complete in Phase 1. And the CH probably had another           18    was around there.
        19    couple years left. But I don’t remember how many were          19         Q So the harnesses that would be in Phase 3
        20    complete at the time. I would have to go back and --           20    would be, from a mission standpoint, the least
        21        Q Do you know when Phase I was completed?                  21    critical?
        22        A I cannot remember the exact date or year.                22         A Yes.
        23        Q We’ve been going for an hour and a half.                 23              Why was that a critena? Why was the --
        24    Do you want to take a break?                                   24    whether it was critical to the mission or not why was
        25        A Sure.                                                    25    that a criteria for replacing these harnesses?
                                                                  Page 62                                                              Page 64
                       MR. HICKEY: Let’s go off the record.                    I         A again it comes down to funding and the
          2            THE VIDEOGRAPHER: Off the record at 1:32.              2    amount of time it would take to get the aircraft back
          3            (There was a break in the proceedings.)                3    into operational status. So there are competing
          4            THE VIDEOGRAPHER: This is the beginning of             4    priorities, obviously for funding. Competing
          5    DVD number two. We’re back on the record at 1:37.               5    • riorities for the needs for that particular aircraft
          6        Q So, Bill, before we broke, we were talking               6               (So if you only have a finite amount of
          7    about the Kapton replacement program. You indicated            7    funding, you can’t afford to bumper to bumper replace
          8   there are three phases. We talked about the first               8    all the wirings. It forced to prionti e to get the
          9   phase, that by the time you had arrived in 2006 the             9    most critical ones out first with the available money.
        10    bundles that were to be replaced in that phase were            10          Q I guess what I mean is, why not just base
        11    already identified, there was funding to replacement           11     it on which harnesses were the most problematic,
        12    them, and, in fact, the replacement program had already        12     irregardless of whether it impacted the mission or not?
        13    started. And it took a few years after you arrived             13         A Well, those were all in the Phase I
        14    there to complete, but that Phase 1 was in motion by           14     problematic -- regardless of what it did. If it was
        15    the time you arrived, correct?                                 15     causing problems repeatedly in the fleet, that was
        16        A Yes.                                                     16     replaced. Even if it were just a landing gear light
        17        Q So now what was -- I know you can’t, off                 17     wires. If it was causing problem, it was added. If it
        18    the top of your head, tell me which bundles were in            18     was a recorded problem, it was added. And then on top
        19    which phase. But what was the criteria for bundles to          19     of that -- in addition to that was anything that was
        20    get into Phase 1?                                              20     mission critical or safety related.
        21        A Again, they were what we determined to be                21              The most problematic included safety and
        22    the most problematic harnesses that were called out in         22    just nuisance ones I may not have been critical mission
        23    a haz rep or HMR, hazard maintenance report, mishaps.          23     at all. They were nuisance. They were repeat
        24    Anything that called that harness as a problem fell            24     offenders.
        25    into Phase 1. Anything that was attached to a critical         25         Q And those would be in --
                                                                   Page 63                                                                Page 65

                                                                                                                         17 (Pages 62 65)  -


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          I   he or she. It’s their aircraft?                                    1        ~ Now in your experience why would PMA-26 I
         2         A Yes.                                                        2   be prcpar ng a briefing for the House Appropriations
         3         Q So do they also -- I’m trying to understand                 3   Committee?
         4    the division between two the two, right. So PMA-261 is             4        A Probably was -- it’s not something that we
         5    responsible for sustainment of it. The type commander              5   would regularly do at this level. It must have been a
         6    determines what that aircraft is going to do, correct,             6   staffer request for a little bit of background
         7    mission-wise?                                                      7   information for the funding request we were making.
         8         A Yes.                                                        8   They want to understand what it is we want. Sometimes
         9         Q So that office also gets an amount of money                (9   if we are asking for money -- budget line items are
        10    as well, correct?                                                10    very nondescript. And it’s not a lot of-- the budget
        11         A Correct.                                                  11    is not very user friendly to be able to describe,
        12         Q Between those two, do you know who gets the               12    necessarily what it is you’re asking money for. And
        13    most funding each year?                                          13    for a staffer to be able to defend the budget for you
        14         A No. But the type of money that the Ty Corn                14    or to secure the money that you re asking for it helps
        15    gets is different from what we get. We get                       15    them to have a better understanding of the nature of
        16    aircraft-procurement-type money. The fleet gets flight           16    what you’re asking for.
        17    hour dollars, basically, to pay for consumables, fuel,           17              t probably was a request saying we want to
        18    oil, spare parts, things like that. Ours is--theirs              18    work together so I can make sure I can defend what
        19    is probably bigger. I don’t know. I’m not sure. It               19    you’re asking for more effectively. This is typically
        20    depends on -- not necessarily. It depends on the                 20    why you do these. I don’t know if that was the case,
        21    program.                                                         21    if this ‘erson asked us to come brief it. But that is
        22             We get funded for specific programs like --             22    t e ically what hap ‘ens.
        23    obviously, depending on what’s going on in the program           23        i~Q  n your experience you will occasionally
        24    office, we get a -- for instance, the 53-K program is a          24    get requests from Congressional committees for
        25    billion dollar program. I don’t think the Ty Corn ever           25    information related to p~pgrams that you want money
                                                                     Page 74                                                          Page 76

          1    gets billions of dollars to operate aircraft. It’s         I for?
         2    just different type of money. It’s really not apples       2      A Yes.
         3     to apples. So I couldn’t say for sure.                    3      © And PMA-261 will prepare a briefing in
         4          Q So that leads into my next question which          4 order to justif~’ that expenditure?
          5    is, are the Ty Corn and PMA-26l sort of trying to get at  5      A Yes.
         6    the same fund of money, the same bucket of money?          6      Q So if you go to what’s been Bates stamped
         7          A No.                                                7 as Mil 120277.
         8                  (MeIlen Deposition Exhibit 3 was marked      8      A Okay.
         9     for purposes of identification.)                          9      Q On this page, it’s titled CH-53E service
        10          Q So you’ve just been handed, Bill what’s           10 life extension program, SLEP.
        11    been marked as Exhibit 3 to your deposition. It’s         11         Do you see that?
        12    Bates named Mil 120264 through 120280. It’s entitled      12      A Yes.
        13    PMA-261 CH 53D CH-53E helicopterprogram briefing forl3            Q And then under Phase 2, the second sub
        14    Mrs. Trish Ryan professional staff member House           14 bullet point, it says replacement of Kapton wiring.
        15    Ap ro nations Committee national security, 12             15         Do you see that?
        16    February 1997.                                            16      A Yes.
        17                irst question -- and I know you said that     17      Q So based on your own experience with this
        18    you were reviewing historical documents related to the    18 procedure, would it be your understanding that one of
        19    Kapton issue.                                             19 the things that they were briefing to this House
        20              Have you reviewed this particular document?     20 Appropriations Committee was why they need money for
        21          A       o. I wouldn’t have had this one No.         21 the replacement Kapton program?
        22          Q Does this indicate to you that PMA-261 has        22      A Yes.
        23    prepared a briefing for Mrs. Trish Ryan who is a staff    23      Q And this is in 1997, correct?
        24    member of the House Appropriations Committee?             24      A Yes.
        25          A Yes.                                              25      Q So I know you couldn’t give me a specific
                                                                    Page 75                                                           Page 77

                                                                                                                       20 (Pages 74 77)    -



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          1   date for when the replacement -- Kapton replacement               1       Q     And then the, in quotations, B?
         2    program began. But I believe you said it was after               2       A      It’s not familiar tenninology to me.
         3    2000 sometime?                                                   3        Q And so B code review?
         4         A I’m assuming. I just know for sure it was                 4        A It would just be the -- there are different
         5    in place and multiple aircraft had been repaired by              5    codes within OPNAV. It must -- it’s one of the codes
         6    2006 when I arrived.                                             6    along the way up the staffing chain. I don’t know what
         7         Q      o you know or have you heard from anyone             7    level this is.
         8    that’s been there longer that they were having problems          8        Q Do you know who Colonel Robert A. Forester
         9    getting funding for the replacement program’                     9    is?
        10         A Yes.                                                     10        A No. I can assume he was the PMA-261 at the
        11              And what did you hear?                                11    time, just from the title.
        12         A Well even every year I was there it was                  12        Q And by “title,” you mean program manager?
        13    always -- we never were able to receive funding that            13        A Yes.
        14    was necessary to re lace all the Kapton on all the              14        Q So you believe he was the PMA-26l --
        15    aircraft that needed it which led us down this                  15        A Program manager.
        16    multiple phase thing. So it was difficult to get full           16        Q -- program manager, which -- not the class
        17    funding of the entire sco e of what we had to do which          17    desk?
        18    was you know almost a hundred aircraft that had to              18        A Not the class desk.
        19    have replacement wiring in the order of over a million          19        Q This is the person above that, the actual
        20    dollars per aircraft to replace it. We couldn’t get             20    program manager?
        21    that kind of money.                                             21        A Yes.
        22         Q So based on your understanding of the                    22        Q Typically, what would be the rank of
        23    Kapton issue, if Nay Air had been given the funds to do         23    someone that would occupy the class-desk position?
        24    all three phases immediately, they would have done it?          24        A It would be either a 05 or 04 officer. So
        25         A We would have.                                           25    either lieutenant commander or commander in the Navy or
                                                                    Page 78                                                            Page 80

          1      Q      But you weren’t given those funds. So you               1    a major or lieutenant colonel in the Marine Corps.
         2    had to break it up into phases, starting with what Nay           2          Q And if you turn to what’s been Bates
         3    Air determined were the most critical harnesses and              3     stamped as -- and this staple may be in the way. But
         4    them moving down into Phase 2 and Phase 3 with the less          4    Mu 120711 and-- it’s the one right before Mil 120712.
         5    critical harnesses, as determined by Nay Air?                    5     I can’t read the number though.
         6         A Yes.                                                      6         A Okay.
         7                (Mellen Deposition Exhibit 4 was marked              7          Q But the title of the page is OAG POM-00
         8    for purposes of identification.)                                 8    priorities, right?
         9         Q So, Bill, you’ve been handed what’s been                  9         A Uh-huh.
        10    marked as Exhibit 4 to your deposition, Bates stamped           10          Q And below that under number three, it says,
        II    Mu 120702 through 735 titled H-53 an executive                  11    ASPA, slash, WSS.
        12    helicopter’s program.                                           12              Do you know what those two acronyms stand
        13             Again, as part of your review of historical            13     for?
        14    documents, have you reviewed this document?                     14          A It’s -- I know what it is. I’m not sure if
        15         A Not this particular.                                     15     I know the acronym. I know what they are, but I cant
        16         Q And this is entitled POM-OONALG, in                      16     remember what the acronym stands for again.
        17    quotations, B, code review. And then the individual             17          Q Okay. Turn to the page before Mu 120716.
        18    named on here is Colonel Robert A. Forester, United             18     So it must be Mil 120715, but I can’t read the number.
        19    States Marine Corps, program manager, dated 23 October,         19          A What page was it?
        20    1997.                                                           20          Q So the page before Mil 120726. The Bates
        21             First question, what is POM-00?                        21     stamp on that page is blacked because of the stapling
        22         A That’s the fiscal year, 00, budget cycle.                22    job that we did.
        23         Q And NALG, what does that stand for?                      23          A Okay.
        24         A I don’t remember. Its a leadership group,                24          Q And this is -- the top of the page says,
        25    but I don’t remember.                                           25     H-53 issue sheet service life extension program SLEP
                                                                   Page 79                                                               Page 81

                                                                                                                        21 (Pages 78      -   81)
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          1   H-53E?                                                            I   stamped Mu 230430 through -440. It’s entitled
         2        A Uh-huh.                                                     2   executive summary technical concurrence and risk
         3        Q And correct me if I’m wrong, but this                       3   acceptance signamre sheet. And later on systems
         4    indicates there is a funding shortfall for the SLEP               4   safety risk and assessment H-53E Kapton electrical
         5    program9                                                          5   wiring SSRA.
         6        A Yes.                                                        6            Have you ever seen this document before?
         7        Q So -- and if we look back on what was                       7       A Yes.
         8    marked as Exhibit 3 that one page regarding the SLEP              8        Q And what is this document?
         9    program that we talked about on the briefing to Trish             9       A This is a risk acceptance document that
        10    Ryan it indicated that replacement of Kapton wiring at           10   outlines a hazard and mitigation and a risk
        11    that time was being considered as part of the SLEP               11   determination for certain hazards that, at a certain
        12    correct?                                                         12   level, have to get signed off by a different level of
        13        A Yes.                                                       13   leadership. So this was to formally have the risk
        14        ~) So what this page is indicating is that                   14   decision be made at the proper level and get it signed
        15    there is a shortfall in funding in order to accomplish           15   off on by the risk acceptance, which in this case was
        16    that correct?                                                    16   PEOA. And for a risk at this level, it requires DCA -
        17        A There isa--yes. There isa-- correct.                       17   or ADCA, the deputy commandant Marine Corps for
        18         • And it pj~jects out funding from fiscal                   18   aviation, to sign off as well. That person represents
        19    year ‘99 through fiscal year ‘05~                                19   the fleet. PEOA represents Nay Air. And they both
        20        A Correct.                                                   20   concur with the risk and accept it.
        21         I    And the total deficit -- or the delta they             21        Q And what’s the risk that’s being analyzed
        22    indicate is 754.2 million correct?                               22   in this document?
        23        A That is the total deficit. Yes. So this                    23       A This Kapton electrical wiring risk.
        24    shows the -- this is the fit up which is the fiscal              24        Q And what’s the date of this assessment?
        25    year defense plan which is the FY ‘99 through ‘05.               25       A 20 May, 2009.
                                                                     Page 82                                                         Page 84

          I   And then there is the to complete after that which is             I       Q And do you know who performed this system
         2    whatever you can’t get -- it includes all the other               2   safety risk assessment?
         3    aircraft that aren’t included in those years, plus. So            3       A John Fletcher, the system safety engineer
         4    the total rolls up all that together.                             4   from Lake Hurst.
         5              But this applies only to the H-53 Echo                  5       Q And do you know John Fletcher?
         6    correct?                                                          6       A Yes.
         7        A Yes.                                                        7       Q Now, if you look at page 1 of 8, which is
         8              So at least in 1997 -- I’m sorry -- 1997                8   on Mil 230432, at the very bottom it says, original,
         9    the rojection out to ‘05 was -- indicated there was               9   dash, November, 1995, rev one, 02; rev two, 06; rev
        10    going to be a total deficit of the required funding of           10   three, which is this date, 09.
        11    754.2 million9                                                   11           So are these all the prior risk assessments
        12        A Yes That’s just the delta for the entire                   12   that have occurred with regard to Kapton electrical
        13    SLEP if what’s what you mean where Kapton was a part             13   wiring?
        14    ofit.                                                            14       A These are other visions to the SAR 42005.
        15             MR. HICKEY: Okay. I only have one more                  15   So yes.
        16    exhibit, but I can’t find it. Let’s take a five-minute           16       Q Would John Fletcher-- do you know, would
        17    break.                                                           17   he have completed all such safety -- system safety risk
        18             THE VIDEOGRAPHER: Off the record at 2:11.               18   assessments?
        19             (There was a break in the proceedings.)                 19       A Someone in his position. I’m not sure how
        20             THE VIDEOGRAPHER: Back on the record at                 20   long he was around. He was around for a long time. I
        21    2:16.                                                            21   don’t know if he started the original or not. But I’m
        22               (Mellen Deposition xhibit 5 was marked                22   sure he certainly did -- was there in ‘06, probably did
        23    for purposes of identification.)                                 23   the ‘02. But I don’t know exactly when he started to
        24        Q So, Bill, you’ve been handed what’s been                   24   work 53 program. Likely yes. I don’t know. He was
        25    marked as Exhibit 5 to your deposition. It’s Bates               25   there for a long time.
                                                                     Page 83                                                               Page 85

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           I   acceptance for every risk that we had in the program,              I       Q     Assistant deputy commandant for aviation?
          2    across the PEG, not just our program. So that drove us             2       A     Yes.
          3    to take this SRA and turn it into — put it on this                 3       Q Who is that individual, if you know?
          4    format and have everybody actually sign to accept risk.           4        A It’s ADCA, which is the commandant in
          5    Previously, that hadn’t happened. So that drove this              5    Marines Corp is representative for aviation. So he
          6    document.                                                         6    basically owns all the Marine Corps aircraft.
          7         Q Okay.                                                      7        Q Okay.
          8         A But the risk was known well before 2009.                   8        A He has final authority on how Marine Corps
          9         Q But the risk that’s being accepted here-                   9    aircraft are used operationally.
         tO    what is the risk that’s being accepted?                          10        Q And then, finally, we get down to Rear
         II         A To -- acknowledgment that there is -- a                   It    Admiral Eastburg who put this whole thing in motion.
         12    hazard had been identified. This is the probability              12    And he’s signing off. Next to his name it says risk
         13    and consequence of that hazard. Do we concur that it’s           13    acceptance.
         14    okay to continue to operate aircraft with this known             14             So, ultimately, its up to Rear Admiral
         15    hazard.                                                          15    Eastburg to determine whether this risk is going to be
         16         Q And everyone that signed this is indicating               16    accepted or not’
         17    that -- or everyone that signs this, their response to           17        A I think this is labeled not well. I think
         18    that question is yes?                                            18    what it’s meant -- the risk acceptance is joint
         19         A Yes.                                                      19    acceptance between ADCA, General Davis, and Admiral
         20         Q So you’ve talked to or briefed Captain                    20    Eastburg. If one of them-- either one of them could
         21    Muldoon. And then it says --so the first three are               21    have said no, and then this would have been a
         22    all reviewed by. And then technical approval is Rear             22    nonstarter. So Admiral Eastburg can’t say-- if ADCA
         23    Admiral Gaddis?                                                  23    says no, Admiral Eastburg can’t say -- he can say I
         24         A Correct                                                   24    accept it, but no aircraft are going to fly with it if
         25         Q And he has a designation of Air 4.0?                      25    both don’t accept it.
                                                                      Page 94                                                                Page 96
           I      A     Yes.                                                      I       Q But both have accepted it. So Brigadier
          2       Q     So he’s the engineering lead at Nay Air?                 2    General Davis and Rear Admiral Eastburg are stating
          3        A Yes.                                                        3    that they understand the risks associated with
          4         Q Is he an engineer himself? Do you know?                    4    continuing to operate the CH-53 Echo. And one of those
          5        A I don’t know. He’s retired now.                             5    risks is the -- is that you may have an inadvertent
          6         Q So he is providing -- he’s reviewing this                  6    landing gear retraction while the aircraft is on the
          7    and then signing off on a technical standpoint that               7    ground, correct?
          8    everything is correct technically in this assessment?             8        A Yes.
          9         A Uh-huh.                                                    9        Q They understand that that’s a risk. And
         10         Q And then the US Navy, slash, US Marines                   10    they are saying that this aircraft is going to continue
         11    Corps user concurrence, what is that position?                   II    to operate even with that known risk, correct’
         12         A That is the counterpart --it’s the class                  12        A Yes.
         13    desk at air land-- air forces that again, this                   13             MR. HICKEY: Thank you. That’s alt the
         14    would be the person who represents the type commander            14    questions I have.
         15    who owns the aircraft, the 53--the aircraft type                 IS             EXAMNATION BY MRS. SAVITr:
         16    commander -- the fleet type commander.                           16                (Mellen Deposition Exhibit 6 was marked
         17         Q So the type commander is signing off on                   17    for purposes of identification.)
         18    this assessment?                                                 18        Q Good afternoon My name is Lisa Savitt. I
         19         A Concurring.                                               19    represent DuPont. I just have a few questions.
         20        Q Right. And he’s indicating that he concurs                 20             1 have something here I’m going to ask be
         21    below his name, correct?                                         21    marked as an exhibit. I don’t have copies. I don’t
         22        A Yes.                                                       22    have the whole document. But I only have a few
         23         Q And below that, Brigadier General J.M.                    23    questions. But it’s Mil 242476 through 480. 1 will
         24    Davis?                                                           24    represent that I know that there’s about 110 pages in
         25        A Yes.                                                       25    that document. I didn’t obviously print them all.
                                                                     Page 95                                                                  Page 97

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           I   which phase?
          2          A It definitely reminds of me of the number
          3    of harnesses in each phase and the status of each. But           3              CERTIFICATE OF DEPONENT
          4    I couldn’t -- again, I couldn’t tell you what was                4
          5    included in -- what the twenty were in Phase 2.                  5           1 hereby certify that I have read and
          6    Essentially, what I -- this pretty much spells out what          6    examined the foregoing transcript, and the same is a
          7    I said previously.                                               7    true and accurate record of the testimony given by me.
          8         Q And the fourth paragraph says, based on our               8
          9    current funding. Then it goes on, full Kapton                    9         Any additions or corrections that I feel are
         10    replacement will be complete for the ninety-seven               10    necessary will be made on the Errata Sheet.
         Ii    effected CH’s in fiscal year ‘I?.                               11
         12             Do you have any knowledge of whether or not            12
         13    it’s on target to be finished in fiscal year ‘17?               13
         14         A I don’t. I would not know that. A lot of                 14
         IS    it depends on the induction schedule of aircraft into           15                       William Mellen
         16    the depot.                                                      16
         17         Q And there is a reference at the top to an                17
         18    attachment, CH phase 2 PowerPoint.                              18                          Date
         19             Was that a listing of the aircraft that                19
         20    still were in Phase 2? Or do you recall what it was?            20    (If needed, make additional copies of the Errata Sheet
         21         A I don’t completely remember. I think it                  21    on the next page or use a blank piece of paper.)
         22    was probably -- I had several briefs that would lay out         22
         23    which harnesses were in those phases and the timeline           23
         24    to complete probably which slide, something to that             24
         25    effect.                                                         25
                                                                    Page 102                                                             Page 104
           I        Q And does this document at all refresh your                 I   State of Maryland
          2    recollection to some of the other questions Mr. Hickey           2    Prince George’s County, to wit:
          3    asked you about funding, in particular the fact that             3             1, HEATHER AVALOS, a Notary Public of the
          4    it -- the Kapton replacement has never been a fully              4    State of Maryland, County of Prince George’s, do hereby
          5    funded program. That squares with what you testified             5    certify that the within-named witness personally
          6    earlier.                                                         6    appeared before me at the time and place herein set
          7             Is that correct?                                        7    out, and after having been duly sworn by me, according
          8         A Yes.                                                      8    to law, was examined by counsel.
          9             MRS. SAVITT: I have no further questions.               9             I further certify that the examination was
         10             MR. SHEPARDSON: I have no questions.                   10    recorded stenographically by me and this transcript is
         II             THE VIDEOGRAPHER: This concludes today’s               II    a true record of the proceedings.
         12    video recorded deposition. We are now off the record            12             I further certify that I am not of counsel
         13    at 2:45.                                                        13    to any of the parties, nor in any way interested in the
         14             (Deposition concluded at 2:45 P.M.)                    14    outcome of this action.
         15                                                                    15            As witness my hand this 9th day of March,
         16                                                                    16    2017.
         17                                                                    17
         18                                                                    18
         19                                                                    19
         20                                                                    20
         21                                                                    21                  osignature°o
                                                                                                  <°

         22                                                                    22                HEATHER AVALOS,
         23                                                                    23                Notary Public
         24                                                                    24    My Commission Expires:
         25                                                                    25    December 29, 2019
                                                                   Page 103                                                              Page 105

                                                                                                                      27 (Pages 102- 105)
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                         EXHIBIT H
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                 U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
              (Exhibits to Declaration of Christopher S. Hickey
                In Support of Motion for Summary Judgment)
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                              In The Matter Of:

                                        a minor
                                        V.
                    SIKORSKY AIRCRAFT CORPORATION




                       AMADOR, TASHINA Vol. 1         -



                           November 4, 2015




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                                                             TASHINA AMADOR                     —     11/4/2015

                                                                             Page 42                                                                            Page 44
              through DF—000547.                                                                            Q.     Okay.     So at the time Tanika was born, you
          2                 Exhibit 2 is a number of documents that                                 weren’t married at that time?
          3   appear to be related to the dissolution of                ——   of the
              marriage between Tashina Peshlakai               ——                           4               Q.     Okay.     And then subsequent to that, you and
          5                 THE WITNESS:     Peshlakai.                                     S       Mr. Long got married in August 2006?
          6                 MR. HICKEY:     Peshlakai, sorry.                               6
          7                 -—   and Delvin Troy Long.                                      7               Q.     Did you ever live together with Mr. Long?
                            Tashina,    these documents were produced by                    8
          9   your counsel in this case,              and I just want to ask                9               Q.     Okay.     And what was    --   when did you live
     10       you a few questions about it.                                            10           with Mr. Long?
     11               Q.    If you turn to page        --   at the very bottom         11                   A.     The beginning of 2001 to around         ——   I’m
     12       it’s    ——   there are what we call Bates numbers at the                 12           sorry,       2000,    beginning of 2000,      to around November
     13       very bottom of the page.            It starts with Dr and then           13           2001.
     14       there’s 000 and then a number after that.                                14                   Q.     Did you ever live with him again after that
     15                    Do you see those at the bottom?                             15           time frame?
     16               A.   Yes.                                                        16                   A.     Yes.     Ne moved to San Diego a week after
     17               Q.   Okay.     If you can go to 532.          Okay.    Do you    17           our marriage for one week.
     18       recognize the document that you’re looking at?                           18                   Q.     Okay.     So he lived in San Diego for one
     19               A.   Yes,    I do.                                               19           week in August 2006?
     20               Q.   Okay.     And it’s    --   the title of it is               20
     21       “Income and Expense Declaration.”                                        21                   Q.    Okay.      And you lived together during
     22              A.    Yes.                                                        22           that    --   for that week’
     23               Q.   Now, was this a document that you filled                    23
     24       out?                                                                     24                   Q.    Okay.      And what happened to Mr.     Long after
     25              A.    Yes,    it is.                                              25           that?


                                                                            Page 43                                                                         Page 45
      1               Q.    Okay.      And is that your signature at the                1                  A.     Ne left.
      2       bottom?                                                                   2                  Q.     Okay.    After he left in 2006, did he have
      3                                                                                 3           any contact with         ——   with Tanika’
      4               Q.    Okay.      And in Section 3 it says “Tax                    4                  A.     Dff and on,      yes.
      5       Information”; do you see that?                                            5                  Q.     Did he see her in person~
      6                                                                                 6
      7               Q.    And it says:         “I last filed taxes in the             7                  Q.     How did he cosssunicate with her’
      8       year 2008,” and then under B,                 “My tax filing status       8                  A.     Letters.
      9       is,” and you checked “head of household”; is that                         9                  Q.     So when you say “letters,” would those be
     10       correct?                                                                 10           letters sent by U.S. mail?
     11               A.    Correct.                                                   11
     12               Q.    Okay.      Why did you check “head of                      12                  Q.    Okay.     Did he call her at all?
     13       household”?                                                              13                  A.    We did.      It was usually on her birthday for
     14               A.    Because I was head of household.                           14           once a year.
     15               Q.    Did you have a dependent at that time’                     15                  Q.    When’s the last time he had contact with
     16               A.    Yes,    I do.                                              16           Tanika’      When’s the last time Mr. Long had contact
     17               Q.    And who’s the dependent?                                   17           with Tanika~
     18               A.    Tanika Long.                                               18
     19               Q.    Okay.      And when was Tanika Long born’                  19                  Q.    What was the nature of that meeting?
                      A.    She was born November 10th               2000.             20                  A.    He called her.
     21               Q.    Can you spell her name for the record?                     21                  Q.    Was that on her birthday?
     22               A.    T—a—n—i—k-e,        L—o—n—g.                               22                  A.    It was a little after her birthday, yes.
    23                Q.    Okay.      And who is the father of Tanika                 23                  Q.    After August 2006 did Mr         Long provide any
    24        Long?                                                                                 financial support for the upbringing of Tani~~~
    25                A.    Her biological father is Delvin long.


                                                                                                                                   12     (Pages 42 to 45)
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                                                                  TASHINA AMADOR                       —     11/4/2015

                                                                               Page 46                                                                                   Page 48
                    Q.     Okay.       What shout before 2006?                                     1               Q.           Who was she visiting?
                                                                                                   2               A.           Her grandparents in Hew Mexico.
                    Q.     Okay.       So when you            —   when you marked on               3               Q.           Okay.     And all the numbers that are listed
               the document that we’re talking about, DF-000532,                                   4        in paragraph 18, you filled in those numbers?
          o    that you were the head of the household, that’s                                     5
          Q   because you were the               ——    providing the sole financial                6               Q.           Okay.     If you turn to page DF-000533, under
               support for Tanika’                                                                 7       paragraph 9 you’ve marked that there’s been a change
          0                                                                                        8       in income, and it indicates “deployed for six
          9         Q.     Okay.       Now,      if you take a look at all the                     9       months.”              That’s at Al Asad,       Iraq?
      10      documents between DF-00527, which is the first page                              10
      11      of Exhibit 2        --                                                           11                  Q.        And is that one of the deployments that we
      12                   MR.    SHEPARDSON:            Listen to his question                12          talked about?
      13      before you start          ——                                                     13
      14                   THE WITNESS:               Okay.                                    14                  Q.       Which one was it?
      15      BY MR.     NICKEY:                                                               15                  A.        My first deployment.
      16           Q.      --    and through the end, which is DP’-00547,                      16                  Q.        Okay.        The one from April 2007 to November
      17      are these all the documents that                     --    or did you           17           2007?
      18      prepare all the documents between that Bates                                    18
      19      range?                                                                          19                   Q.       Okay.        And who else have you been married
     20            A.      Yes,    I did.                                                     20           to?
     21            g.     Okay.        And not all the documents are                          21                   A.       To Angel Amedor.
     22       signed, but most of them are, and they’re signed on                             22                   Q.       And when did you and Angel get married?
     23       June 26, 2009; is that the time when you filled out                             23                   A.       June 20th,        2014.
     24       these documents?              Is that the date you filled out                   24                   Q.       And do you and Angel have any biological
     25       these documents?                                                                25           children between yourselves?

                                                                              Page 47                                                                                 Page 49
          1
      2            Q.     Okay.        Now,      if you go to page DF-000530             --    2                   Q.       And does Angel have any children?
      3                   Do you see that?                Are you there?                       3                        .   Yes,        he does.
                   A.     Yes,     I do.                                                       4                   Q.       Okay.         What are their names?
      5            Q.     ——     under paragraph 13 it says “Average                           5                 A.         Brittany Amador.
      6       Monthly Expenses,” and you have checked that these                               6                 Q.         And what’s Brittany’s age?
      7       are estimated expenses.                   Did you    ——    you filled out        7                 A.         She’ll be five in November.
      8       this portion?                                                                    B                 Q.         Okay.
      9            A.     Yes,     I did.                                                      9                 A.         Kaeley Amador.            She is three.
     10            Q.     So your total monthly expenses in June of                           10                 Q.         Okay.
     11       2009 you estimate were $2,442; is that correct?                                 11                 A.         Krystal Amador.            She’s 16.
     12            A.     Correct.                                                            12                 Q.         And are all three of these children from a
     13            Q.     And if you go to paragraph 1?, which is on                          13           prior marriage that Angel had?
     14       page DF-000531       --       17   --   it says that you provide                14                 A.         There’s Maria Amador.
     15       children’s healthcare expenses and it says that,                                15                 Q.         That’s Angel’s ex-wife?
     16       under paragraph          ——   under subsection A, that you’ve                   16                 A.         Mo,    that’s his daughter.
     17       checked that you do.                Is that for       --    was that for        17                 Q.         Oh, I’m sorry.            I thought there were   --    so
     18       Tanik&’                                                                         18           there’s more than three?
     19                                                                                       19                    .       Yes,     there’s four.
     20            Q.     Okay.        And in paragraph 18 it has                             20                 Q.         Okay.        And how old is Maria?
     21       additional expenses for the children and under C it                             21                 A.         Twenty—two.
     22       has travel expenses for visitation and under there                              22                 Q.         And, again, as we talked about before,                if
     23       is a number $400.             Is that travel expenses for                       23           you don’t remember something,                  that’s fine.     Okay?
     24       Tanika to visit somebody?                                                       24           So I noticed you looked over towards Angel, but he
     25                                                                                       25           is not being deposed today.                   So if you don’t


                                                                                                                                             13       (Pages 46 to 49)
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                                                                               Page 78                                                                        Page     80
              Afghanistan,          I went to Iraq.                                                        A.    He did more than that.       He   --   I’m going to
          2           Q.     Okay.        When Tanika lived with both you aod                         say I probably paid 40 percent of it.
          3   Alex, did Alex pay for any of Tanika’s expenses~                                             Q.    So Alex paid roughly 60 percent, you paid
                      A.     Yes, he did.                                                             40 percent~
          S           Q.     What did he pay for?                                             S
                      A.     He paid for half her braces,               the first   ——        6            Q.    Okay.       Are there any other expenses related
         7    the first set.              He paid for her sports, the fees.                           to Tanika that Alex paid for?
              The youth center, he would pay for                   -—   he paid half                       A.    Yes.       When she would go to Texas to visit
         9    for that.                                                                               his parents, he’d be the one purchasing the tickets.
     10               Q.    And what is the youth center?                                10                Q.    you mean the airplane tickets?
     11               A.     It’s    ——   it’s on base.         It’s like a daycare      11                A.    Airplane tickets.
     12       for    ——    for youth,      for   ——   I believe it’s from seven          12                Q.    So Alex would purchase the airplane tickets
     13       on up,       seven to 18—year—olds, before and after care,                 13           to Houston’
     14       before school and after school care.                                       14
     15               Q.     So you said he paid for sports fees.               Do       15                Q.    How often did Tanika go to Houston?
     16       you recall about how much money that was?                                  16                A.    It was for every deployment, and we wou
     17               A.    Hell,     yes, it was a       ——    just to enroll her       17           go back for      ——   we would try to go back for Christmas
     18       was $55.                                                                   18           and her birthday.
     19               Q.    Was that on a monthly basis?                                 19                Q.    your first deployment in 2007          --

     20               A.    Ho,     it was a one—time enrollment fee, but                20                A.    Ho,    he didn’t pay for that one.
     21       it was for every sport.                 It’s $55 for every sport           21                Q.    Where was Tanika during that first
     22       she would enter into.                                                      22           deployment?
     23               Q.    Okay.     And you said he paid for half, half                23                A.    She stayed with my parents.
     24       of her braces.           Do you know how much her braces                   24                Q.    In Hew Mexico?
     25       cost?                                                                      25                A.    Yes.


                                                                              Page 79                                                                        Page 8].
      1               A.     Yes.      Her braces were around 3,                          1                Q.    Okay.      And the second deployment in 2008 to
      2               Q.     And he paid         --   Alex paid half of that or           2           2008, Tenika went to Houston; correct’
      3       $1500?                                                                      3
      4               A.     Yes,    he did.                                                               Q.    Okay.      And Alex paid for the plane ticket
      5               Q.     And he paid half for her enrollment in the                   5           to and from Houston?
      6       youth center on             ——   at Miramar?                                6                      Yes, he did.
      7               A.     Yes,    he did.                                              7                Q.    Okay.      And the last deployment that you had
      8               Q.     How much was that?                                           8           in 2012 Tanika also went to Houston~
      9               A.     Hers was around,           like,    $75 a month.             9
     10               Q.     And he would pay half of that $75?                          10                Q.    Okay.      And sbe was living with Alex’s
     11               A.     Yes.                                                        11           parents?
     12               Q.     Each month?                                                 12                A.    Parents, correct.
     13               A.     Hell,    one month he would pay and then the                13                Q.    Okay.      Anything else that Alex paid for
     14       next month I would pay,                 so we would divide it that         14           regarding Tanika’s expenses?
     15       way.                                                                       15
     16               Q.     Anything else that Alex would have paid                     16                Q.    Okay.      That’s it.
     17       for?        Strike that.                                                   17                      You know, with regard to the total cost of
     18                      Is there any other expenses for Tanika that                 18           raising Tanika, how much would you           ay Alex
    19        Alex paid for?                                                             19           contributed to that on x percentage?
    20                A.     Clothing.         He helped with clothing.             He                    (A.    r’m going to say about     ——   about 80 percent
    21        helped with food.                                                          21               ‘Q     And was that true during the entire time
    22                Q.    And can you estimate what percentage of                                   that you and Tanika were living with Alex?
    23        Tanika’ s clothing expenses were paid by Alex?
    24                A.     I would say the clothing was 50/50.                         24                Q.    I~y        So from February 2008 to March 2011
    25                Q.    What percentage of food purchases?                                        you estimate Alex paid for approximately 60 percent


                                                                                                                                  21     (Pages 78 to 81)
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                                                                            Page 82                                                                                Page 84
              of Tanaka’s expenses’                                                        1               Q.        Do you see in the paragraph that’s
                                                                                           2       second       —-       the second paragraph from the bottom on
          3           Q.     What about when Alex was deployed, was he                     3       the first page?
              still able to pay for her expenses?
                      A.     Yes.                                                          5               Q.        It says:
          6           Q.     How did he do that?                                           6                         “While he was home and the squadron was
          7           A.     When we were both deployed at the same                                        deployed, Sergeant Fontalvo would check in each
          8   time, he was sending money to his mom while she was                                          morning with Staff Sergeant Hamenberger.”
          9   in the care of his parents, and he was sending her                                                     Do you know who that is?.
     10       money every payday, which is bi-weekly.                                 10                             Yes, I do.
     11                      MR. NICKEY:        What exhibit are we up to?            11                   Q.        And who is Staff Sergeant Hanenberger?
     12                      TWE REPORTER:        Three.                              12                   A.        It was one of the staff sergeants that
     13                      MR.    BICKEY:     Mark that as Exhibit 3.               13           stayed behind from his unit,                    and he was still here
     14                      (The document referred to was marked by the              14           while the unit was deployed, so it was his
     15       reporter as Exhibit 3 for identification and is                         15           supervisor at the time.
     16       attached hereto.(                                                       16                   Q.        Okay.     And the next sentence says:
     17       BY MR.       BICKEY:                                                    17                             “The FED was also around for 11MW 363.”
     18               Q.    Mrs. knador, you’ve been handed what’s been               18
     19       marked Exhibit 3.              Do you recognize this document?          19                   Q.        I’m sorry, thank you, 361.
     20               A.     Yes,    I do.                                            20                         Who’s the FED?
     21               Q.     Okay.     And Exhibit 3 is dated 8 April,                21                   A.    That’s the FRO.              It’s a civilian that sends
     22       2011.        It’s two pages.        The bottom of the first page        22           emails to the spouses left behind regarding updates
     23       just says “enclosure” and a parenthetical Ho. 13,                       23           about the deployment, such as the return, how
     24       and the second page is a Bates number DF-00130.                 Can     24           they’re doing, events that are going to be taking
     25       you describe or can you explain what Exhibit 3 is?                      25           place.       That’s who FRO is.


                                                                            Page 83                                                                                Page 85
                      A.    Exhibit 3 is when I was being questioned by                                    Q.    And FED stands for what?
      2       an investigator,          the judge advocate, and this is                2                   A.    I don’t know.
      3       pretty much everything             —-   my statement to him              3                   Q.    Does it stand for family readiness officer’
              regarding the questions.                                                                     A.    Yes,        it does.
      5               Q.    Did you type up this statement?                                                Q.    And was Alex cossnunicating with the              --   with
      6               A.    I did not.                                                 6           the FED?
      7               Q.    Do you know who did?                                                           A.    Yes, he was.
      8               A.    I believe he did.                                                              Q.    Do you know what that was about’
      9               Q.    Can you read through this document and let                 9                   A.    N.
     10       me know if there’s anything that’s incorrect?                           10                   Q.    Was he friends with the FED?
     11                     MR. SBEPAROSON:           Take your time.                 11                   A.    I don’t think he was friends, no.
     12                     TNE WITNESS:        No.                                   12                   Q.    Do you know who             ——   who the family readiness
     13       BY MR. NICKEY:                                                          13           officer was?
     14               Q.    So everything that’s written in Exhibit 3                 14                   A.    Yea.        Ber name is Nata le.
     15       is accurate?                                                            15                   Q.    Do you recall the last name’
     16               A.    Yes,     except for no date was set for the               16                   A.    No.
     17       wedding.                                                                17                   Q.    Also on the         --   on the first page, in the
     18               Q.    Okay.     Do you remember who the JAG was that            18           last paragraph            --   in fact, the last sentence       --   it
     19       you talked to?                                                          19           says:
     20            A.       No,     I do not remember his name.                       20                         “Generally, he wished to come back to 10111
     21            Q.       Was it a Marine Corps JAG?                                21                   466.”
     22            A.       Yes.                                                      22                         Do you know why Alex wanted to go back to
     23            Q.       Okay.     Do you know if the JAG worked at                23           that squadron?
     24       Miramar?                                                                24                   A.    That’s where a lot of his friends were and
     25            A.       Yes.                                                      25           he was only supposed to be at 361 temporarily and                         -—




                                                                                                                                        22        (Pages 82 to 85)
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                                                                          Page 126                                                                               Page 128
                        So you claim Tanika as a dependent and part                    1       Affidavit for Tanika?
      2   of that you get an increase in BAR; correct?                                 2                      .   Yes, he has.
      3             .            .                                                     3                 Q.       Hehas.
      4        Q.       Alex Fontalvo claimed Dominic as his                           4                          Do you have that document?
      5   dependent and as a result he got an increase in BAR;                         5                 A.       I do,    but it’s just like this,        not
      6   correct?                                                                     6       completely done.
      7             .            .                                                     7                 Q.       So it was not signed?
      8        Q.       Okay.             All right.        Who claimed Tanika as a    8
      9   dependent on               --   strike that.                                 9                 Q.       Okay.      Okay.   But you have    --   how easy
     10                 During the time you were with Alex                            10       would it be for you to get that document?
     11   Fontalvo,      did you file joint tax returns?                              11                 A.       It’s in Pensacola packed away in storage,
     12             .        .                                                        12       so I’m going to say it will take me about three
     13        Q.       So you each filed separate tax returns?                       13       hours to locate it.
     14             .   Correct.                                                      14                 Q.       Stored in your home or stored offsite?
     15        Q.       Okay.             Who claimed Tanika as a dependent on        15                 A.       Stored in my       ome.
     16   their tax forms?                                                            16                 Q.       And did Alex also fill out a dependency
     17             .                 .                                               17       statement with regard to Tanika?
     18        Q.       Okay.             Who claimed Dominic as a dependent          18                 A.       I believe he did,         yes.
     19   on their tax form?                                                          19                 Q.       you would have that document at home as
     20        A.       Dominic.                                                      20       well?
     21        Q.       Dominic.                                                      21                 A.       I’ve seen it.       I just have to look for it.
     22        A.       Alex did.                                                     22                 Q.       Okay.     Do you know what DEERS is?
     23        Q.       Dominic.             Let me write that down.                  23                 A.       Yes,    I do.
     24                 Okay.             So Alex claimed him as a                    24                 Q.       Okay.    What is DEERS?
     25   dependent      ——                                                           25                 A.       I don’t know what it stands for, but it’s


                                                                          Page 127                                                                           Page 129
      1                                                                                1       a    ——   it’s a system for the military where we add our
      2        Q.       ——       for purposes of filling out a tax                     2       dependents,            our spouses into the system in order for
      3   return?       Okay.                                                          3       us to receive Tricare Prime Benefits.
                        One more question.                  Exhibit 7 is titled                          Q.       Okay.    And I believe DEER stands for
      5   “Children’s”               --   sorry, if you can get that back.             5       Defense Enrollment Eligibility Reporting System, so
      6                 Okay.             Exhibit 7 Is titled “Children’s              6       --   but I wouldn’t have known that either unless I
      7   Dependency Determination Affidavit”; correct?                                7       wrote it down.
      8        A.       Correct.                                                       8                          Sut who registered Dominic in DEERS?
      9        Q.       And Exhibit 8 is “Dependency Statement,                        9                 A.       I believe at the time I gave birth I did
     10   Child Burn Out of Wedlock Under Age 21”; correct?                           10       and then we switched him over to Ales.
     11        A.       Correct.                                                      11                 Q.       okay.    And with regard to Tanika, who
     12        Q.       Now, did Alex fill out that dependency                        12       registered Tanika in DEERS’
     13   application in order to claim Dominic as his                                13
     14   dependent?                                                                  14                 Q.       Okay.    So it was under your neme that
     15                 Yes,          I believe he did.                                        Tanika was receiving Tricare; corr~~t~
     16        Q.       And do you know what military form, what DO                                      A.       Correct.
     17   form that would be that he would have filled out in                         17                 Q.       And at least at first Dominic was receiving
     18   order to      ——       in order to apply to have Dominic as his             18       Tricare under your name but later you believe he was
     19   dependent?                                                                  19       receiving Tricare under Alex Fontalvo’s name’
     20        A.       Wouldn’t it be these two                  orms?               20                 A.       No, he was.
     21        Q.       Okay.             So it’s your belief these are the           21                 Q.       He was for sure?
     22   only two forms that have to be filled out?                                  22
     23       A.        Yes,         along with his birth certificate.                23                 Q.       Okay.    All right.       So Tashina, you’ve been
     24        Q.       Did he ever fill               --   did Alex Fontalvo ever    24       handed what’s been marked as Exhibit 9, identified
     25   fill out a Children’ s Dependency Determination                             25       by the Sates number DF-00394.                   It’s entitled “Marine


                                                                                                                              33     (Pages 126 to 129)
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                                                                      Page 134                                                                      Page 136
                            (The document referred to was marked by the                            Q.     Okay.       Other than Alex, did anyone else
              reporter as Exhibit 11 for identification and is                        2       help you?
              attaohed hereto.                                                        3            A.     I’m not sure if it was this year or this
              BY MR. HICKEY:                                                                  tax return or the one before where I took it to HtR
                     Q.    FIt’s identified by Bates range DF-695                     5       Block to have them go over it to see if I missed
              (~~g~gh DF-007l7.            Do you know what this document             6       anything end then I submitted it.
          7   fts, Tashina’                                                           7            Q.     But as you sit here today, you don’t recall
                                                                                              when you spoke to H&R Block?
                     Q.    What is it?        Sorry, go ahead.    What is it’         9
     1’                     t s tax retu na         HER Block.                   10                Q.     Do you believe it was before 2010?
     ii              Q     And this tax return is for wh~~                       11                A.     I don’t remember.          I don’t know which year
     12             A.     Myself.                                               12           it was.
     13              Q.    And for which tax year’                               13                Q.     Okay.       Did you use this HSR Block software
                                                                                 14           this year as well to do your taxes?
                    Q.     Okay.                                                 15
                    A.     Yes, 2010                                             16                Q.    your tax return.           So this year, when you
     17             Q.     And the front of the page says “H&R Block             17           did your tax       --   you filled out your tax returns, did
     19       Advantage.”         What is H&R Block Advantage’                   18           you also go through Military One Source and utilize
     19             A.     It’s a company.                                       19           the HeR Block software that’s at Military One
     20             Q.     Okay.     Did you work with an H&R Block              20           Source?
     21       employee when filling out your tax returns?                        21                       Yes,    I did.
     22                                                                          22                Q.    Okay.        So the HeR Block software that’s
     23             Q      Okay.     Did you use a computer program that         23           available on Military One Source, isn’t it a
     24       H&R Block, you know, sells in order to help you fill               24           software where it prompts you to fill in certain
     25       out your tax returns~                                              25           information; correct?


                                                                      Page 135                                                                     Page 137
      1                                                                           1                A.     Correct.
      2              Q.    Okay.      Do you recall the program that              2                Q.     And it asks you certain questions?
      3       you   --    that ycu used,      the H&R software that you used      3
      4       to fill cut your tax returns?                                       4                Q.     Okay.       And you answer those questions and
      5             A.     No,     it was from HER B cc                           5           then it tells you what           --   what deductions you’re
      6              Q.    Okay.      Did ycu purchase that software from         6           allowed to take,          so forth; isn’t that how the
      7       HeR Block’                                                          7           Military One Source tax software works?
      B                               ‘5    ree    or mi i ary members.           8                A.     That’s how the HER Block softwsre works.
      9             Q.     Did you fill out this         --   your tax returns    9                Q.     Correct.         Sorry.    Correct.   Isn’t that how
     10       on base?                                                           10           the HeR Block software at Military One Source works?
     11                                                                          11
     12             Q.     Okay.      So were you able to download this          12                Q.     Okay.       If you flip to page 699, DF-00699        --

     13       HeR Block software onto your home computer?                        13                       Tell me when you’re there.
     14             A.     No,     I didn’t   --   didn’t do any downloading.    14                       I’m there.
     15       I just went online.                                                15                Q.     So in the name and address section at the
     16             Q.     Okay.     Did you go through a military               16           very top of the page it has your nsme; correct’
     17       website?                                                           17                A.     Correct.
     18             A.     Yes.                                                  19                Q.     And then it has the address 11146 Mine
     19             Q.     What was the website that you went through?           19           Shaft Drive, Apartment 371, Lakeside, California
    20              A.     Military One Source.                                  20           92040.     That’s where you were living at the time
    21              Q.     Did you receive any assistance in filling             21           that you filled out this tax return?
    22        out your tax return for 2010?                                      22                A.     Correct.
    23              A.     Yes,    I did.                                        23                Q.     And you were living there with Alex;
    24              Q.     And who gave you assistance?                          24           correct?
    25              A.     Alex helped me.                                       25                A.     Correct.


                                                                                                                       35     (Pages 134 to 137)
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                                                                       Page 13                                                                           Page 140
                        Q.     And by “Alex” I mean Alex Fontalvo; right?              1       BY MR. WICKEY:
          2                                                                            2                Q.     As a percentage, how much of Tanika Long’s
          3            Q.      And on this document you claim yourself;                3       support were you providing            -—   did you provide during
               correct?                                                                        the year 2010?
          5                                                                            5                       MR. SHEPAROBOH:      Objection.   Asked and
          6            Q.      As an exemption and you also claim one                          answered.
          7    dependent as an exemption; oorrect?                                     7                       THE WrTHESS:    I’m sorry,    this is to make me
          B            A.      Correct.                                                8       look like a bad mother?             tike I do anything for my
          B            Q.      And that one dependent is Tanika Long;                  9       kids?
      10       right?                                                              10                          MR. HICKEY:    Ho, it’s not.      It is not.
      11                                                                           11                          MR.   BHEPAROSOH:    He asked you before and
      12               Q.     And right stove that where it has “filing            12          you answered it before, but he’s asking again:                   Can
      13       status” and it has several boxes that you can put an                13          you estimate, percentage—wise?
      14       X in,     one is “single,” the other’s “married,” and              14                           THE WITHESS:    It makes me look like I don’t
     15        then down to 4 where it says “head of household with               15           do anything,          like I’m a bad mother.
     16        qualifying person,” and you checked off that box;                  16                           MR. WICKEY:    Oo you want to take a break?
     17        correct?                                                           1?                           MR. SHEPAROSOH:      Let’s take a break off the
     16                A.     Okay.                                               18           record.
     19                Q.      Indicating that you were the head of the           19                           THE VIDEOORAPHER:     Of f the record.     The
     20       household and that Tanika Long is your dependent;                   20           time is 2:51.
     21        correct?                                                           21                           (Brief recess.(
     22                A.     Correct.                                            22                           THE VIOEOORAPHER:     Back on the record at
     23                Q.     i~y.     (So by claiming you were the head of       23           2:59.
              the household you were doing that because you were                  24           BY MR.        HICKEY:

     ci       providing more than 50 percent of Tanika Long’s                     25                   Q.      Okay.   Mrs. Amador, so we’re back on the

                                                                       Page 139                                                                         Page 141
              support during the year 2010~ correct’                                           record.         We’re going to have the last question read
                             MR. SHEPAROSON:      Objection to the form,           2           back, and then if you can answer that question.
              assumes facts not in evidence.                                       3                           (Whereupon the record was read as follows:
              BY MR. HICKEY:                                                       4                           “Q.     As a percentage, how much of Tanika
                   Q         Were you providing more than 50 percent of            5                   Long’s support were you providing           ——   did you
              Tanaka Long’s support during the year 2010’                          6                   provide during the year 2010?”)
                                                                                   7                           THE MITHESS:    I provided about 40 percent.
      8            Q.        How much of Tanaka Long’s support were you            8           BY MR. HICKEY:
      9       providing       --   did you provide during the year 2010?           9                   Q.      If you can flip to page OF—0007B1 of
     10                      MR. SHEPAROSON:      Objection.   Asked and          10           Exhibit 11.           In part 1 it lists MCAS Mirsmar youth
     11       answered.                                                           11           teen center; what is that?
     12                      You can estimate,     if you have an answer to       12                   A.      Tt’s the teen center I mentioned earlier.
     13       the question.                                                       13                   Q.     And the cost for the year was $3,493’
     14                      MR. HICKEY:      Oo you want me to ask the           14
     15       question again?                                                     15                   Q.     Okay.    And that was for Tanika Long;
     16                      (Whereupon the record was read as follows:           16           correct?
     1?                      “Q.    How much of Tanika tong’s support were        1?                   A.     Correct.
     18            you providing         —-   did you provide during the          18                   Q.     And that amount was only for Tanika Long?
     19            year 2010?”(                                                   19
     20                      MR. SHEPAROSON:      Were you provided?    Is        20                   Q.     Okay.    And in part 2 it says “credit for
     21       that what it said?                                                  21           child and dependent care expenses,” and underneath
     22                      MR. HICKEY:      I’ll just rephrase it.    Strike    22           there it lists Tanaka Long’s name?
     23       that last question.                                                 23
    24                       MR. SHEPAROSON:      Please, please.                 24                   Q.     And qualified expense $3,493?
    25                                                                            25                   A.     Yes.


                                                                                                                         36        (Pages 138 to 141)
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                                                                      Page 198                                                                         Page 200
              his arm,      I was charged with battery.                                             A.      Mo.     This was the only incident.
          2   BY MR. HICKEY:                                                          2             Q.      Okay.     That’s all the questions I have.
          3           Q.    And where did this incident occurred?                     3
                            Pensacola,    F                                                                                     EXAMINATION
          5           Q.    Was it inside your home?                                  5
          6           A.    It was in our garage.                                     6       BY MR. JOHNSON:
          7           Q.    Okay.     Was anyone else present at the time?                          Q.      Ms. Amador, how are you doing’           How are you
                                                                                              doing, Ms. Aisador?
          9           Q.    Okay.     So was Tsnika in the house at the                             A.      I’m     joe.    Still here.
     10       time?                                                                  10             Q.      As well as could be expected?
     11               A.    They were sleeping.                                      11             A.      Yes.
     12               Q.    Okay.     And so Dominic was in the house as             12                     MR.    JOHNSON:      Let’s mark this as Exhibit
     13       well’                                                                  13       29.
     14                              They were s eeping.                             14                     (The document referred to was marked by the
     15               Q.    Or Dominic.                                              15       reporter as Exhibit 29 for identification and is
     16                     So how did the authorities get involved in               16       attached hereto.(
     17       this incident?                                                         17       BY MR. JOHNSON:
     18               A.    Angel called them so that they could calm                18             Q.      What we marked as Exhibit 29 has been Bates
     19       me down and so he could prove me wrong that I                          19       labeled DF-00371-379.              can you take a couple minutes
     20       couldn’t just kick him out of the house.                               20       to look through this~
     21               Q.    I’m sorry, I didn’t understand that.                     21
     22               A.    Like I couldn’t just ask him to leave,             and   22             Q.      And let me know when you’ve finished
     23       he wanted the cops to calm me down and tell me that                    23       reviewing it.
     24       I can’t have him leave.             But with the State of              24
     25       Florida,      they said one of us has to get arrested.                 25             Q.      You’ve had a chance to review this?

                                                                     Page 199                                                                          Page 201
      1               Q.    Okay.     So the police arrived and they                                  A.     Yes,    I did.       I glanced through it.
      2       arrested you and then you had your court hearing on                     2               Q.     And do you recognize this document?
      3       the 3rd?                                                                3                                onot.
      4               A.    Yes.                                                                      Q.     Have you ever seen it before?
      5               Q.    Okay.     Which is yesterday.        And you have to      5
      6       go through a program?                                                   6               Q.     Okay.     I think that’s all that I have.
      7               A.    Yes.                                                      7       Thank you.
      8               Q.    Okay.     So as you said, you’ve had anger                8
      9       issues.       Is this the first incident or has there                                                              EXAMINATION
     10       been other incidents in the past?                                      10
     11                     MR.    SHEPARDSOM:        Object to the form.            11       BY MR.       BARKOWSKI:
     12                     MR. MICKEY:       I’ll rephrase it.                      12               Q.     Hi, Ms. Asnador.         Justin Barkowski for E.I.
     13               Q.    You just mentioned that you have anger                   13       Dupont de Nemours and Company.                   Just have a few
     14       issues.       What did you mean by that?                               14       questions.           I apologize if this is repetitive, but I
     15               A.    Meaning I go through a lot of depression.                15       just want to make sure that I had the right answers
     16               Q.    Okay.     Is that sQnething that’s happened              16       and make sure it was asked.
     17       just post accident, the accident that we’ve been                       17                      You said that you were previously married
     18       talking about?                                                         18       to Mr        Delvin Long; is that right’
     19            A.       Yes.                                                     19
     20               Q.    So did it ever       ——   did you ever have anger        20               Q.     Is it correct that you stated that the only
     21       issues before the accident?                                            21       times you lived with him were beginning of 2000
     22            A.       Mo.     I mean,   I would get angry,     but not         22       through       --    through November 2001 and for one week in
     23       this bad.                                                              23       August 2006?           Those are the only two times?
     24            Q.       Okay.     So have you ever injured anybody               24
     25       else in      ——   in one of these incidents?                           25               Q.    And Mr. Long has never provided any


                                                                                                                           51       Pages 198 to 201)
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                                                                        Page 202                                                                            Page 204
              financial support for Tanika Long’                                                questions.
                                                                                        2                      MR. 5NEPAR050N:       Thanks, Bruce.
                      Q.       Have there been any attempts to have a                   3                      THE VIDEOGRAPNER:       This will then mark the
              court of law iasue an order requiring him to provide                      4       end of Volume I in the recorded deposition of
              any financial support for Tanika Long?                                    5       Tsshina Amador.          This original recording is retained
                                         our divorce decree says he’s                   6       at DTI at 20?50 Ventura Boulevard, Woodland Bills,
              responsible for 50 percenr, whi h he never did                                    California.          Going off the record.           The time is
                      Q.       Has there been any attempts to force him to                      5 : 04.
          9   pay that?                                                                 9                      THE REPORTER:       Are you ordering a certified
     10                    •   No.      He’s been in                               10           copy of the transcript, counsel?
     11               Q.       Can I ask what the nature of the                    11                          MR. 5BEPAROBON:       Yes.
     12       incarceration?                                                       12                          MR. BARKOW5KI:       Yes.
     13               A.       I have no idea.         I don’t conta               13                          MR.   JOHNSON:     Can I let you know?
     14               Q.       Do you know if he’s still incarcerated?             14           ‘I,
     15               A.       I believe he is.                                    15           I,,
     16               Q.       Did Alex have a regular physician or doctor         16           ‘II
     1?       that he saw when you were with him’                                  1?
     18                        No, not a regular, no.                              18
     19               Q.       Is that something he would get through the          19
     20       Marine Corps?             If he wanted to see a doctor, is           20
     21       there a doctor that would be provided through the                    21
     22       Marine Corps or does he have his own private                         22
     23       physician?                                                           23
     24               A.       No,   it’s through the Marine Corps.     Through    24
     25       the Marine Corps.                                                    25


                                                                        Page 203                                                                            Page 205
                      Q.       Putting aside any support from Alex for        --    1                                           Declaration
      2       from your own income, military pay or benefits, did                   2
      3       Tanika Long receive any other financial support from                  3
              any other source during the time that you were with
      5       Alex’                                                                 5                          I hereby declare I am the deponent in the

      6                                                                                         within matter: that I have read the foregoing

                      Q.       I mean, I was meaning parents, other people                      deposition and know the contents thereof, and I

              that we may not know who were sending money,                                      declare that the same is true of my knowledge,

              anything like that.                                                               escept as to the matters which sre therein stated

     to               A.       No.                                                              upon my information or belief,               and as to those
                                                                                   11           matters, I believe it to be true.
     11               Q.       I just want to be clear.
                                                                                   12                          I declare under the penalties of perjury
     12                        And the same question for Dominic.       Putting
                                                                                   13           under the law of the United states that the
     13       aside any support from Alex or yourself, was Dominic
                                                                                   14           foregoing is true and correct.
     14       receiving any sort of financial support from any
                                                                                   15                          Executed on the              day of
     15       other source during the time that you were with
                                                                                   16           2015,     at
     16       Alex?
                                                                                   1?
     1?               A.       Dominic, no.
                                                                                   18
     18               Q.       Sorry.
                                                                                   19
     19               A.       No.
                                                                                                                          Witness
     20                        MR. BARKOMSKI:      I have no further
                                                                                   20
     21       questions.
                                                                                   21
     22                        MR. SHEPAROSON:      And I will reserve all
                                                                                   22
     23       questions for the time of trial.
                                                                                   23
     24                        MR.   HICKEY:    Bruce, are you still there?        24
     25                        MR. CtEELAt4D:     I’m still here and I have no     25


                                                                                                                          52       (Pages 202 to 205)
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                           EXHIBIT I
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                 U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
              (Exhibits to Declaration of Christopher S. Hickey
                In Support of Motion for Summary Judgment)
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                                                      (       .~




                                 DEPENDENCY STATEMENT                                -                                     CONTROLNUMBER                         0MB Na. 073,0-0014
                                CHILD BORN OUT OF WEDLOCK                                                                                                        0MB approval expires
                                       UNDER AGE 21                                                                                                              Nov30, 2010
     The pubtlc rapodeg bunter, k,i INs cotsc*ba, at k*m,akn I# aethnit.d b~ averse. 1.25 hours par ~aoponoe, tedudlog the ~na k~i mvbatng holzudhais. seerddna extetbig dala ouw~ asthefria
     end mebndnteg the del. needed~ end crsnpledeg end r.vlowhw the toLleden ol l.fpo,altxn. Send po000.nIs mcatdlpo Me burden sedand. ur any other espec~ at this coledlon at
     bsdetisg suggeotions fur rndudng the buntin. te the Deperboerit p1 Dd.ns., Waotthgisn Neadl~usrters Ser*es~ Exua~dve SaMoan Dbectorst.. kifo~mo5on Management DMSICn. ~155 Defense
     ~ redwbhoters~g any other provision of law, no ~son eras be o,i,~ed te any penarcy tar lxlthcg to comply
     PLEASE DO NOT RETURN YOUR FORM TO ThE~ABOVE ORGANIZATION. RETURN COMPLETED FORM TO YOUR LOCAL. SERViNG PERSONNELIPAYROLI.
     OFFiCE.
                                                                                  PRIVACY ACT STATEMENT
     AUTHORITY: P.L 93-64; 37 U.S.C., Chapter 7, SectIon 4O3~ E.O. 9397 (SSN) and 000FMR 7000.14-R, Vol. Ta, Chapter 26.
     PRINCIPAL PURPOSE(S): The hiformatlon will be used to determine the relationship and dependency or the claimed dependents and determine the
     member’s entitlement to authorized benefits.
     ROUTINE USE(S): In addition to those disclosures generally permitted under 5 U.S.C. 552a(b) of the Privacy Act, these records or information
     contained therein may specifically be disclosed outside the DoD as a routine use pursuant to 5 U.S.C. 552a(bX3) as follows The DoD ~BIanket
     Routine Uses’ published at the beginning of the DoD compilation of systems of records notices apply.
     DISCLOSURE: Voluntaiy however, failure to provide this information will result hi a suspension of the dependent entitlement until the military
     member provides the required certification.
                                                                                             INSTRUCTIONS                                                                 V


      MAI.E MEMBER WITH CHILD BORN OUT OF WEDLOCK WHOSE PATERNITY HAS NOT BEEN JULJIi..IP.LIT LJ~ I OflMINt.V
      NOT RESIDE IN MEMBER’S HOUSEHOU). Mamber must complete Items 1 and 2~ and sign and date the form. Chad’s custodian or representative
                                                                                                                                                                   ,-,
     must complete Items 3 through 13. sIgn and data the form, and have It notarIzed. CHILD MUST BE MORE THAN 50% DEPENDENT ON MEMBER.
     If member Is deceased, representative of the child must complete this form in Its entirety and have the form notarized. Items 5 through 11 must reflect
     the 12 months prior to the member’s death. Report Income in GROSS amounts, and attach verification documentation.
     NOTE: Answer all questions. If any question does not apply, write ‘NOT APPLICABLE° or ‘N/A” hi that block. Use the Remarks section when
     required. Incomplete answers will delay final action on the application.
     1. ENTITLEMENTS REQUESTED (Xerid complete as ~ebIe)
     a. TYPE       V           b. FIRST APPLICATION?                                                                         c~ LASTAPPLICAT1ON WAS
     El USIP CARD
        omsrt ~specq,                                 NO
                                                                   Uf No, give date o(festappilcat~n)
                                                                   (YVY~.4MDD)
                                                                                                                                    APPROVED
                                                                                                                                    DISAPPROVED
     2. MEMBER INFORMATION                        V

     a. NA~ (Last. First. MAtdIe InStall                  -                                                                  b. ~N                          ~.   RANK
         T~~AL-V’~                       ALLY1S                                                                              1~r~LV2_rTII                    S(E~T
     d. STATUS (X end complete a~s eopilcable)
                DUTY         NATIONAL GUARD        ARMY                       NAVY                                           DECEASED fPete of death) (VY’YY.4MDD)            ____________

          RETIRED            RESERVE                     E CORPS              AiR FORCE                                      OTHER (Specifj4
     e. COMPLETE RESIDENCE ADDRESS (Street. Apartment Mxnber~ CIty, State, ZIP Code)

     fli~4’~ ~AFI~~                                           ~3~’7I
      LA\~’-€-SIOe~- CP~- “i)-O~-kO                                                                 V                                            V

     1. COMPLETE MIlITARY ADDRESS (lnotsto assignment squedii7fl and base)
      ~v~W1”~1                       ~



          ~ ~ h~IQ~ ~AY~ ~\ ~O                                                      Ck °l7~i “f 5
     g. TELEPHONE NUMBERS (th~krde 051/ orAma Code)                             Ii. E-MAIL ADDRESS                                      I. MAR(TALSTATUS (Xone)

     1~r5YL 9
     3. MEMBER’S CHILD
                                       ~I i~te1-
     a. ~ME (Last. First, Midde InKiaQ                                                                      b. SSN                             I a.   DATE OF BIRTH (VYYYMMDO)
        I-oV\’T4 ~—vo                V~w’~             C~           W’~-
     d. COMPLETE ADDRESS (Street. Apartment Number, City, State, ZIP Code)
                                                                                                                                               I ~ C) ~Y12.2.
                                                                                                            a. HAS CHILD EVER BEEN MARRIED? (If Yes~ attach a copy of ennulnient
     IiI’-I~           ~                        C)(~               4’~7 f                                     decee.#netdlsurcedecree,ordeathcerthI~steofchlld’sspouse.)

     LAV-estO€~.             Q~ ~2~4o                                                                   V


    4. CHILD’S OTHER BIOLOGICAL PARENT
    a. PARENVS NAME (Last. Fltst, AKddle Initial)                                            I b.   COMPLETE ADDRESS (Sfcaet. Apartmont Mimbe~ City, Steta~ ZIP Code)

      Y~<~ ~                                                       ~.
                                                                                         V   ILAY~e~Ir)L
                                                                                             i ‘~        C’A- ~2~0t~kb
    c. IS OTHER BIOLOGICAL PARENT IN ANY BRANCH OF SERViCE, INCLUDING RESERVE OR NATIONAL GUARD (Xone) I≥~J.ZES                                         U NO C~t, L~2I’-~!
       (K Yes, show rank, name, SSN, end mStarye&kess~)

      ~ ~7~çk~ t                ~-         ?eS~i LP~-~- i 5~sq~s1~~ (~ 11 h1~i*LS                                                   ~     BC) ;~ q tY2D’~, ~
     DD FORM 137-4, JAN 2008                                                 PREVIOUS EDITION IS O~SOLETE                       I                                             Pane I of 4 Pads
                                                                                                                                    ~       EXHIBIT                           MOOS      Pi~lesolcnal 7.0


                                                                                                                                                                         DF-00231
                                                                                                                                                                               _VV_•V
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      4. CHILD’S OTHER BiOLOGICAL PARENT (Contlhued)
      d. DOES OTHER PARENTCI.AIM CHILD FOR BASIC AU.OWANCE FOR HOUSING (BAN), TRAWL ALLOWANCE~ OR USIP CARD O( one)                                   U    YES        NO
           0’ Yes, e~eh,.)

      a.    WAS CHLD’S MOTHER MARRIED FOR ANY PART OF THE                   Ill-MONTH PEmOD PRECEDING THE CHLD$ BiRTh? (Xone)
                                                                                                                                                           YES
           (if Yes, gA-a date of meaiage) (YYYYMMOO)

          If the mother was married but Is now separated, divorced~ orwtdowed. ftmlsh a copy of separation egreement~ Intertocutory decree, final divorce
      decree, or death certificate of spouse.
      f. HAS PATERNITY OF CHH.D BEEN JUDICIALLY DIRECTED?                        j g. HAS MEMBER BEEN JUDICIALLY DIRECTED TO SUPPORT THE CHILD?
           171 Yes, IO~wd ~n be (ssued~)                                                     [     (if Yes, asnlsh a c~~y of al decwnents.)

      ~    YES                                                                                        YES ~~NO
      5. CHILD’S RESIDENCE
      a. TYPE OF RESIDENCE 17Cand complete a$a~able)
      ~] HOME OR APARTMENT OF OTHER PARENT
      ~HOME OR APARTMENT OF MEMBER
                                                                                        [] HOME OR APARTMENT OF FRIEND OR RELATIVE (State reteUonshlp)
       ] HOME OR APARTMENT OF CHILD                                                              HOSPITAL OR INSTIIUTION
       ] HOME OR APARTMENT OF FORMER SPOUSE OF MEMBER                                            OTHER (E’tplak7)
       1 ST1JPENT DORRITORYOR OTHER ON-CAMPUS FACILITY
      b. OWNER OF RESIDENCE
      (1) NAME (Last. FilsI, Mkidla k~1IaL1                         (2) ADDRESS (Street. Apathoent M,mber, C14c State, ZIP Code)
           IW\(),)~.dV~
      ffl’L~~i2-\J ~~uic-~
      c. ISJ~ESIDENCE ~UBS4DIZED HOUSING?
                                                                    1~’i~cr D~7 I
                                                                    d. DATE CHILD STARTED LIViNG AT
                                                                                                                                              ~e5~iZ C~
                                                                                                                 a. DATE CHILD STARtED LIVING WITH PERSON WHO
     ~                                                                 CURRENT ADDRESS (YWVUMOD)                    CURRENTLY HAS PHYSICAL CUSTODY (YYYYMMDD)
     -j~                                                             2h~OC5ID’-Q
     6. PERSONS LIVING IN HOUSEHOLD WITh CHILD
         Llst~j persons who lIve In the househdd, Including claimed child. If employed, show hours per week ~rked. Continue in Remarks if more space
     Is needed.

                      s. NAME (Last. f7rst. Mldd7e Initial)                        b. RELATIONSHIP               C.   AGE             RI~            a. EMPLOYED
                                                                                       TO CHILD                               YES      NO       HOURS PER WEEK NO ()Q

     ~S~kL~4M ~S~Vy~ ~                                                                                                                  4x~        ~5 ~
     ~Y\1~L’1~ AL€ “/                                                                                                                             ~




     L-O Y~c~1 1’A V~ ~~A- S~sie. Q~                                                                                10
     ~                                                                                                                                                            X
     7. HOUSEHOLD EXPENSES
        List the household expenses for all persons living in the home. if expense was one-time only. such as purchase of a new chair, do not show this as
     a monthly expense; list It as an expense for the past 12 months. If child resides In the member’s household cm a dwelling owned by the member.
     use Fair Rent&I Value (FRV) for dwelling. If Child does not reside In member’s household or fri a dwelling owned by member, list actual mortgage, rent,
     or FI~ If dwelling Is mortgage-free. If FRy Is used, give a brief explanation of how Fair Rental Value was obtained using the Remarks sectioo.
        FAIR RENTAL VALUE (FRV) FRV is a single monthly sum for the entire dwelling where the child lives. This sum Is an amount the owner can
     reasonably expect to receive from a stranger to rent the dwelling. FRV will not include food, utilities, furnIture, and home repairs, which are listed
     seper~

                    ITEM                   PRESEN4~ONThLY TOTAL EY,LSE FOR                                   ITEM                   PRESElI4~1ONTHLY TOTAL EX~NSE FOB
                                               EXPENSE      PAST 12 MONTHS                                                              EXPENSE        PASTI2 MONTHS
     a.~one)                                                                                 d. FURNrFUREAND
     ~RENT                 fl FRy                r-.r’..      DC)
     ~J MORTGAGE                                                      )9 ~                        APPLIANCES                                              —

            ~
            TAX
                                                                               ~~4i~c)       a. REPAIRS ON HOME
                                                                                             f. OTHER (Speot~
            INSURANCE

     b,F000                                3~~1                      ~3J~6~D.
                                              ‘2t)D                        1) IX) ~
     c. uTlI.mEs (Heat, powar,
        watar~ and telephone)
     DO FORM 137-4, JAN 2008                                                                                                                            Page 2 of 4 Pages



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                                                  (


      8. CHILD’S PERSONAL EXPENSES
         List all of the child’s personal expenses regardless of who Is pa~Ang for them.
                                                    (1)              (2)                                                         (1)              (2)
                          ITEM               PRESENT MONTHLY TOTAL EXPENSE FOR                        ITEM                PRESENT MONTHLY TOTAL EXPENSE FOR
                      ~                          EXPENSE      PAST 12 MONThS                                                  EXPENSE       PAST 12 MONTHS

     a. CLOThING                               IQ 0 ~ °           4 ~V ~               g.   PRIVATE AUTO PAYMENTS                                     —


     b. LAUNDRYAND DRY
        CLEANING
                                                20                 1 L~ D~                chfl~nen~
                                                                                       h. MONTHI.YTRANSPORTA.
                                                                                            TION PAYMENTS (Spec4’          ~7~)                     I i.~OO     ~°~‘

     C. MED         AL (Donotthc*4                                                           ~ve)
              expenses peki by ioawance,
              ~h~re, ~
                                                                   —
                                                                                       L SCHOOL EXPENSES (Itemize)
                                                                                                                            (~-‘s)
     d. VALUEOPUSIPCARD
        (Verification of amount Is
                                                                                            A~- pi-r~:~~.                  -7ff) ~                   ~ ‘-1
        required)
                                                                   —
                                                                                             4[’~a-~ç~            —~        l,Lt)O.°°              ~DO~~D
     a. PERSONAL INSURANCE                                                            J.    OTHER EXPENSES (I?onrfze)
              (S~                                —                —                          ~3c~xnu L~’~                  ~OO ,~2.               ~Li~4 01)
     1. PERSONALTAXES(SpeciM


     9. CHILD’S INCOME
          All g~g~ Income received by or In behalf of the cNld, whether taxable or nontaxable, and whether received monthly, quarterly, or yearly, naist be
     lIsted. This Includes any Income yov receive as custodian or admInistrator for the chIld. If any Income received during the past 12 months was a
     lump-sum (one-time) payment, be sure to state this. VerificatIon documents are required.


                          SOURCE
                                                 PR~ENT
                                                 MONTHLY
                                                               TOTAL~hCOME
                                                                FOR PAST 12                          SOURCE
                                                                                                                                    PR~JENT
                                                                                                                                    MONTHLY
                                                                                                                                                     TOTAI.9~4COME
                                                                                                                                                      FOR PAST 12
          ~                                       INCOME          MONTHS                                                             INCOME            MONTHS

     a. WAGES, SALARIES, TIPS, OR                                                g. SOCIAL SECURITY PAYMENTS,
                                                                                    DISABILITYOR REGULAR (Sped)’)                     —                 —
        OTHER CASH GRATUITIES
     b. INTEREST ON INVESTMENTS,
        BONDS, SAVINGS, TRUST                         *            —
        FUNDS, ETC.                                                              h. SUPPLEMENTAL                                      —                  —
     C. INSURANCE OR PUBLICJ                                                          SECURITY INCOME (851)
       GOVERNMENT PENSION
       PAYMENTS,UNEMPLOYMENT                                                     I. VETERANS ADMINISTRATION
       OR DISABILITY COMPENSATION                                                   PAYMENTS (.~~ed)’ ~~pe)                           —                    —
       (Sped)’~


     d. CONTRIBUTIONS FROM                                                       3.   STATE OR LOCAL WELFARE AID,
                                                                                      INCLUDINGAIDTO DEPENDENT                                          —
        PERSONS OTHER THAN                                                            CHILDREN (iodide agency and
        MEMBER                                                                        address in Renia,*s section)
     a. SCHOLARSHIPS OR                                                          k. OTHER (SpecIfy
         EDUCATIONAL GRANTS                                                                                                                             —

     1. TAX REFUNDS (~~achy)


     10. CHILD’S EMPLOYMENT       -

      a. HAS CHILD BEEN EMPLOYED DURING THE PAST 12 MONTHS?                                YES        1><~.NO (If Yes, fljmizh the fcUowtng3
      b. NAME OF EMPLOYER

     c. DATE EMPLOYMENT STARTED d. DATE EMPLOYMENT ENDED                         a. MONTHLY SALARY (Gross) 1. TYPE OF WORK PERFORMED
        °‘~~                   I   C~SWDD) —                                                      —                           —




     g.       REASON EMPLOYMENT ENDED


     11. MEMBER’S CONTRIBUTION
      a. SHOW THE TOTAL AMOIJNTTHE MEMBER HAS CONTRIBUTED TO THE CHILD’S SUPPPORT FOR EACH OF THE PAST 12 MONThS.
      (1) MONTh AND YEAR       (2) AMOUNT      (1) MONTH AND YEAR         (2) AMOUNT      (1) MONTH AND YEAR                                       (2) AMOUNT
     ~~c-t ‘2t7io                          ]~‘oo~ 1~~TAr1 2o~o                                   IDOO.°”          F~
     S~’                  2D~D~             i~oO.°° InA~\f’2..c~rv                            1t,p0.~’
     AL&€~                ~2-oIv            I~OO~°~ ‘,~ ~2_pto
     ~                ~‘2ow                !~Q0•’~”        ITh,~R...   ~2.Ott’
     b. MEMBER PROVIDES SUPPORT BY (Xone)                              ALLOTMENT                                 PERSONAL CHECK                ~J..MONEY ORDER

     DD FORM 1374, JAN 2008
                                                                 [1    OTHER lExpIaIn)
                                                                                                                                                   Page 3 of 4 Pages



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                                              (N




      12. REMARKS (Use a separate sheet ofpaper Vnecessary)



          ~3~_ pc≥~a~se~r (~~oo)                   (~OOO.~
                                             (~(~)c~l1%~




                                    READ ThE PENALTY PROVISIONS, SIGN AND DATE THE FORM, AND HAVE IT NOTARIZED.
      NOTE: Whoever, In any matter withIn the jurisdiction of any department or agency of the United States, knowingly and willfully falslfles~ conceals, or
      covers up by any trick, scheme, or device, a material fact, or makes any false, fictitious, or fraudulent statements or representations, or makes or
      uses any false writing or document knowing the same to contaIn any false, flcthlous or fraudulent statement or ently, shall be fined as provided In Title
      18, orlmprisoned not more than 5 years, orboth (U.S. Code, tItle 18, section 1001). The Information provided In this form may be referred to the
      appropriate MIlitary Service investigative agency.
          I make the foregoing claIm wIth full knowledge of the penalties Involved for willfully making a false claim. (U.S. Code, tItle 18, section
      287, formerly sectIon 80, provIdes a penalty as follows: Imprisonment for not more than five years and subject to a fine In the amount
      provided in this title.)
      13. SIGNATURES
       5. CUSTODIAN                           r’ I I
                               !~lc~Y~’~4   ~,~4~1vt’                                                             (prk,tdarne(s))willlmmedlatelynolify
     the service concerned of any change hi child’s financial circumstances, marital status, physical custody, or change In dependency upon the service
     member as shown In this form.
      Ill SIGNATURE OF PERSON (OThER ThAN MEMBER) WHO HAS PHYSICAl.                  (2) RELATIONSHiP TO CHiLD                                 13) DATE SIGNED
         CUSTODY               HI                                                       ..—~              ‘                                        (YYYYMMODI
                                      ~               ___~‘                            L 4 Let-                                                z~ io
       b. NOTARY PUBLIC
         Subsciibed and duly sworn (or a~rrned) to before me according to law by the above named afflant(s).
      This   ~   7        day of    ____________ ,          _____ ,      at city (or town) of   /~~r~s’p~                 ,   county of        ~

      and state (or territory) of   _________________                                           _____________________________


                                                N       Pbl’                                                                  ~‘*         .i

              (OuffcIaISeal)
                                    Underthe Provisions
                                    USC Sections936  andofTitle
                                                         1044a 10,                              ~ e,y
       c. MEMBER
     (1) SIG!~ATURE                                                                                                     (2) DATE SIGNED (~WYMMDD)



      DL) FORM 137-4, JAN 2008                                                                                                                      Page4of4 Pages



                                                                                                                                                  DF-00234
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                           EXHIBIT J
               D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                 U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
               (Exhibits to Declaration of Christopher S. Hickey
                In Support of Motion for Summary Judgment)
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               Publication 501
               Cat. No. 15000U                        Contents
Department                                            What’s New                                      1
of the
Treasury       Exemptions,                            Reminders                                       1

Internal
Revenue
Service
               Standard                               Introduction
                                                      Who Must File
                                                                                                      2
                                                                                                      2
                                                      Who Should File                                 3

               Deduction,                             Filing Status
                                                      Exemptions
                                                                                                      4
                                                                                                      9
               and Filing                             Exemptions for Dependents
                                                      Social Security Numbers for
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               Information                                Dependents
                                                      Standard Deduction
                                                                                                    21
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                                                          2010 Standard Deduction
                                                              Worksheet                             23
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               201 0 Returns                          Index                                         26



                                                      What’s New
                                                      Who must file. In some cases, the amount of
                                                      income you can receive before you must file a
                                                      tax return has increased. Table 1 shows the
                                                      filing requirements for most taxpayers.
                                                      Limits on personal exemptions and overall
                                                      itemized deductions ended. For 2010, you
                                                      will no longer lose part of your deduction for
                                                      personal exemptions and itemized deductions,
                                                      regardless of the amount of your adjusted gross
                                                      income.
                                                      Standard deduction increased. The stan
                                                      dard deduction for some taxpayers who do not
                                                      itemize their deductions on Schedule A of Form
                                                      1040 is higher in 2010 than it was in 2009. The
                                                      amount depends on your tiling status. In addition
                                                      to the annual increase for some taxpayers due
                                                      to inflation adjustments, your 2010 standard de
                                                      duction is increased by:
                                                         • Any state or local sales or excise taxes
                                                            you paid in 2010 on the purchase of a new
                                                            motor vehicle after February 16, 2009, and
                                                         • Any net disaster loss you had in 2010 be
                                                            cause of a disaster that occurred before
                                                            2010 and was declared a federal disaster
                                                            after 2007.
                                                      You can use the 2010 Standard Deduction
                                                      Worksheet near the end of this publication to
                                                      figure your standard deduction. But to increase
                                                      your standard deduction by taxes paid on the
                                                      purchase of a new motor vehicle or a net disas
                                                      ter loss, you must use Schedule L (Form 1 040A
                                                      or 1040) and attach it to your return.


                 Get forms and other information
                 faster and easier by:                Reminders
                                                      Taxpayer identification number for aliens.
                 Internet llRS~gov                    If you are a nonresident or resident alien and
                                                      you do not have and are not eligible to get a
Jan 05, 2011
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     a. You cannot claim the credit for the eld        Joint Return After                                      2. You paid more than half the cost of keep
        erly or the disabled, and                      Separate Returns                                           ing up your home for the tax year.
     b. You will have to include in income more        You can change your filing status by filing an          3. Your spouse did not live in your home dur
        (up to 85%) of any social security or          amended return using Form 1040X.                           ing the last 6 months of the tax year. Your
        equivalent railroad retirement benefits                                                                   spouse is considered to live in your home
        you received.                                      If you or your spouse (or both of you) file a
                                                       separate return, you generally can change to a             even if he or she is temporarily absent due
                                                       joint return any time within 3 years from the due          to special circumstances. See Temporary
 9. The following credits are reduced at in                                                                       absences, later.
    come levels that are half of those for a joint     date of the separate return or returns. This does
    return:                                            not include any extensions. A separate return           4. Your home was the main home of your
                                                       includes a return filed by you or your spouse              child, stepchild, or foster child for more
     a. The child tax credit, and                      claiming married filing separately, single, or             than half the year. (See Home of qualifying
                                                       head of household filing status.
     b. The retirement savings contributions                                                                      p~j~pjn, later, for rules applying to a child’s
        credit.                                                                                                   birth, death, or temporary absence during
                                                       Separate Returns                                           the year.)
10. Your capital loss deduction limit is $1,500        After Joint Return                                      5. You must be able to claim an exemption
     (instead of $3,000 if you filed a joint re                                                                   for the child. However, you meet this test if
    turn).                                             Once you file a joint return, you cannot choose
                                                       to file separate returns for that year after the due       you cannot claim the exemption only be
11. If your spouse itemizes deductions, you                                                                       cause the noncustodial parent can claim
    cannot claim the standard deduction. If you        date of the return.
                                                                                                                  the child using the rules described later in
    can claim the standard deduction, your ba          Exception. A personal representative for a                 Children of divorced or separated parents
    sic standard deduction is half the amount          decedent can change from a joint return elected            or parents who live apart under Qualifying
    allowed on a joint return.                         by the surviving spouse to a separate return for           Child or in Support Test for Children of
12. Your first-time homebuyer credit is limited        the decedent. The personal representative has              Divorced or Separated Parents or Parents
    to $4,000 (instead of $8,000 if you filed a        1 year from the due date (including extensions)             Who Live Apart under Qualifying Relative.
    joint return). If the special rule for long-time   of the return to make the change. See Publica              The general rules for claiming an exemp
    residents of the same main home applies,           tion 559 for more information on filing income tax         tion for a dependent are explained later
    the credit is limited to $3,250 (instead of        returns for a decedent.                                    under Exemptions for Dependents.
    $6,500 if you filed a joint return).
                                                       Head of Household                                                 If you were considered married for part
                                                                                                                         of the year and llved in a community
Adjusted gross income (AGI) limits. If your            You may be able to file as head of household if                  property state (listed eariler under Mar
AGI on a separate return is lower than it would        you meet all the following requirements.               ried Filing Separately), special rules may apply
have been on a joint return, you may be able to                                                               in determining your income and expenses. See
deduct a larger amount for certain deductions           1. You are unmarried or ‘considered unmar             Publlcation 555 for more information.
that are limited by AGI, such as medical ex                ried” on the last day of the year.
penses.                                                 2. You paid more than half the cost of keep
                                                           ing up a home for the year.                        Nonresident alien spouse. You are consid
Individual retirement arrangements (IRA5).                                                                    ered unmarried for head of household purposes
You may not be able to deduct all or part of your       3. A “qualifying person” lived with you in the        if your spouse was a nonresident alien at any
contributions to a traditional IRA if you or your          home for more than half the year (except           time during the year and you do not choose to
spouse was covered by an employee retirement               for temporary absences, such as school).           treat your nonresident spouse as a resident
plan at work during the year. Your deduction is            However, if the “qualifying person” is your
                                                                                                              alien. However, your spouse is not a qualifying
reduced or eliminated if your income is more               dependent parent, he or she does not
                                                           have to live with you. See Special rule for        person tor head of household purposes. You
than a certain amount. This amount is much                                                                    must have another qualifying person and meet
lower for married individuals who file separately          ~ later, under Qualifying Person.
                                                                                                              the other tests to be eligible to file as a head of
and lived together at any time during the year.
For more information, see How Much Can You                       If you qualify to file as head of house      household.
Deduct? in chapter 1 of Publication 590, Individ        TIP     hold, your tax rate usually will be lower        Earned income credit. Even if you are con
ual Retirement Arrangements (IRA5).                              than the rates for single or married fil     sidered unmarried for head of household pur
                                                       ing separately. You will also receive a higher         poses because you are married to a nonresident
Rental activity losses. If you actively partici        standard deduction than if you file as single or       alien, you are still considered married for pur
pated in a passive rental real estate activity that    married filing separately.                             poses of the earned income credit (unless you
produced a loss, you generally can deduct the                                                                 meet the five tests listed earlier under Consid
loss from your nonpassive income up to                 How to file. If you file as head of household,         ered Unmarried). You are not entitled to the
$25,000. This is called a special allowance.           you can use either Form 1040A or Form 1040.            credit unless you file a joint return with your
However, married persons filing separate re            Indicate your choice of this filing status by          spouse and meet other qualifications.
turns who lived together at any time during the        checking the box on line 4 of either form. Use the
year cannot claim this special allowance. Mar          Head of a household column of the Tax Table or              See Publication 596 for more information.
ried persons filing separate returns who lived         Section D of the Tax Computation Worksheet to             Choice to treat spouse as resident. You
apart at all times during the year are each al         figure your tax.                                       are considered married if you choose to treat
lowed a $12,500 maximum special allowance                                                                     your spouse as a resident alien. See chapter 1
for losses from passive real estate activities.                                                               of Publication 519.
See RentalActivities in Publication 925, Passive       Considered Unmarried
Activity and At-Risk Rules.                            To qualify for head of household status, you
                                                       must be either unmarried or considered unmar           Keeping Up a Home
Community property states. If you live in Ari          ried on the last day of the year. You are consid
zona, California, Idaho, Louisiana, Nevada,                                                                   To qualify for head of household status, you
                                                       ered unmarried on the last day of the tax year if
New Mexico, Texas, Washington, or Wisconsin            you meet all the following tests.                      must pay more than half of the cost of keeping
and file separately, your income may be consid                                                                up a home for the year. You can determine
ered separate income or community income for            1. You file a separate return (defined earlier        whether you paid more than half of the cost of
income tax purposes. See Publication 555,                  under Joint Return After Separate Re               keeping up a home by using the following work
Community Property.                                        turns).                                            sheet.
Publication 501 (2010)                                                                                                                                   Page 7
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                          EXHIBIT K
              D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                 U.S.D.C., Case No.: 13:cv-00331-GPC-KSC
              (Exhibits to Declaration of Christopher S. Hickey
                In Support of Motion for Summary Judgment)
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     1                            UNITED STATES DISTRICT COURT
     2                         SOUTHERN DISTRICT OF CALIFORNIA
     3     ________________________________________________

     4    DOMINIC FONTALVO, a minor, by)
          and through his Guardian Ad
     5    Litem, TASHINA AMADOR,
          individually and as a
     6    successor in interest to      )No.              3:13-cv-0033l-GPC-K5C
          Alexis Fontalvo, deceased,
     7    and TANIKA LONG, a minor, by
          and through her Guardian Ad
     8    Litem, TASHINA AMADOR,

     9                    Plaintiffs,

    10          vs.

    11    SIKORSKY AIRCRAFT
          CORPORATION; SIKORSKY SUPPORT)
    12    SERVICES, INC.; UNITED
          TECHNOLOGIES CORPORATION; et
    13    al.,

    14                    Defendants.

    15
    16
    17                DEPOSITION OF DAVID TODD FRACTOR, Ph.D.
    18                       Woodland Hills, California
    19                         Thursday, May 18, 2017
    20                                Volume I
    21
    22    Reported by:
          JILL GLANTZ
    23    CSR No. 11341
    24    Job No. 2618106
    25    PAGES 1   75-




                                                                       Page 1

                                    Veritext Legal Solutions
                                         866 299-5127
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          I      Q Pm sorry. Remind me again where the double                    1     Q And only her deposition?
          2    dipping was. I know you told me before.                           2     A I’m not aware of any other sworn testimony that
          3      A Oh, with the health benefits after the military               3   she has provided.
          4    retirement. I didn’t know if my number was too high or           4      Q As a economist, do you understand the term
          5    not or whether I should include both, because he does             5   “necessaries of life”?
          6    retain rights to medical care even after leaving the              6     A I have never heard that term.
          7    service.                                                         7      Q Okay. In this sentence, you use the term
          8      Q You said you used long-term investment grade                  8   “support” twice. What did you mean by “support”?
          9   corporate bonds for the discount rate?                            9      A Paid for the expenditures of the individual.
        10       A I believe that’s correct.                                   10      Q Okay. And that would include all of her
        11       Q What is your definition of a “long-term                     11    requirements, such as housing, food, clothing,
        12    investment grade bond”?                                          12    everything?
        13       A Twenty.                                                     13      A It would be -- right. Right.
        14       Q I’m sorry. Twenty years?                                    14      Q Okay.
        15       A Yes. And recognize, we’re only going out 15                 15      A When I think of supporting my children I think
        16    because the loss terminates in 2032. But given that              16    of anything that I spend on their behalf. It’s
        17    trial was unknown -- I mean, part of the reason why I            17    something to keep them alive or something like that.
        18    stated very explicitly in the report that I want to              18      Q So that would be in addition to things that just
        19    update it to reflect the time of trial, if trial was             19    keep them sheltered and keep them alive. It would be
        20    around the corner, then I would look at a maturity that          20    for gifts, for example. Would that be included in
        21    is more closely linked to the length of the loss. So I           21    support as well?
        22    would be using a shorter-term bond than that. But I              22      A It would.
        23    purposely use a longer-term bond in a situation like             23      Q All right. So your statement here is “I have
        24    this to put in a little bit of a cushion if interest             24    concluded that the decedent provided more than
        25    rates should change between now and the time of trial.           25    50 percent of Tanika’s support,” which is Tanika Long;
                                                                     Page 62                                                            Page 64
          1     Q I think that’s all I have, subject to further                  I   correct?
          2   questions.                                                        2       A Right.
          3                                                                      3      Q And did you do any analysis to determine whether
          4                  EXAMINATION                                        4    Tanika Long was dependent on that support that he was
          5   BY MR. HICKEY:                                                     5   allegedly providing?
          6      Q I have a few questions. If you turn to Page 2 of             6       A I don’t know what you mean by “dependent” here.
          7   your report.                                                      7       Q Okay. Well, someone can provide support, and it
          8      A Yes.                                                         8    is not necessarily necessary for the child’s support;
          9      Q And look at Paragraph 6, which we talked about a             9    correct? I mean, they can provide money to a child, but
        10    little bit.                                                      10    it’s not absolutely necessary for their support;
        11       A Yes.                                                        II    correct? Like, a grandparent can give their grandchild
        12       Q So in the middle of that paragraph, there’s a               12    money or give the parent money to help the child; right?
        13    sentence that says “based upon Ms. Peshlakal’s.” You             13    That doesn’t mean it’s necessary for that child’s
        14    mean “Ms. Peshlakai”; correct?                                   14    support. Do you understand that?
        15       A Yeah. It probably did a word correction on me.              15       A I think I’m getting bogged down.
        16    So I apologize to her.                                           16          MR. SHEPARDSON: Object to the form.
        17       Q And when you say “her extensive sworn testimony”            17          THE WITNESS: I think I’m getting bogged down in
        18    what does that phrase mean?                                      18    legalese. So by “support” here, I’m not talking about a
        19       A Meaning a number of times in her depo, and I                19    legal definition. I’m talking about whatever a parent
        20    referenced the pages as an example, she said “he paid            20    or parent equivalent here, let’s assume, spends for
        21    more than 50 he paid 60 percent of this, etcetera.”              21    their children.
        22    So I’m Just relying on her testimony.                            22    BY MR. HICKEY:
        23       Q So the term “extensive sworn testimony” is                  23       Q If Tashina Amador, or at this time Peshlakai, was
        24    referring to her deposition?                                     24    not in a relationship with Fontalvo or any other
        25       A Yes.                                                        25    individual, did she have the resources to provide for
                                                                  Page 63                                                                  Page 65

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          I    Tanika Long’s support?                                            1      Q Okay.
          2         MR. SHEPARDSON: Object to the form, vague and                2      A Nothing beyond that.
          3    ambiguous.                                                        3      Q Well, is there a difference between someone being
          4         THE WITNESS: I mean, I haven’t looked at her                 4   supported by a parent and being dependent on that
          5    earnings and housing allowance in relation to what she            5   parent’s support?
          6    spent on the child but I believe so. And I mean, since            6     A Unless they have a trust fund or have the ability
          7    it was represented to me that she -- that the father of           7   to do work on their own, I would assume that to me
          8   the child was out of the picture for a very long time,             8   they’re basically like one in the same.
          9   if not forever that the child survived in some fashion.            9     Q Okay. Well, if by “trust fund” you mean if there
        10    BY MR. HICKEY:                                                   10    was some other source of income; right? A child gets
        11        Q So wouldn’t you agree, then, that the funds,               11    some other source of income?
        12    whatever they were, that were being provided by                  12      A Right. So they didn’t need their parent for
        13    Mr. Fontalvo were not necessary for Tanika Long’s                13    daily expendimres.
        14    support?                                                         14      Q Okay. In this case, when you state here “I
        15          MR. SHEPARDSON: Object to the form.                        15    concluded that decedent provided more than 50 percent of
        16          THE WITNESS: I have a lot of trouble answering             16    Tanika’s support,” I understand that you concluded that
        17    your question, and part of the reason is when you have           17    Mr. Fontalvo was providing -- based on her testimony
        18    got them now in a household together, then you have got          18    providing more than 50 percent of Tanika’s support. But
        19    money that could be spent on other household members,            19    in this case or in your analysis that you did in this
        20    and then you have the son who is born. So I don’t know           20    case, have you determined whether his support, whether
        21    at that point -- I mean, what do you want to do? A               21    Tanika Long was dependent upon his support?
        22    hypothetical that okay, now she has a son, but the               22         MR. SHEPARDSON: Object that it calls for a legal
        23    decedent doesn’t spend any money, would it be necessary          23    conclusion.
        24    for him to provide money to be able to provide for               24         THE WITNESS: I think I answered this question
        25    Tanikas support? I don’t know. I’m hopelessly                    25    before, because you have to look at it within the
                                                                     Page 66                                                               Page 68
          I    confused at this point, because to me it sounds like              1   context of the other child in the family. All I’m
          2   were getting into a legal argument rather than is                  2   saying is if this sworn testimony is, in fact, correct,
          3    somebody spending money on behalf of an individual or             3   he was paying more than 50 percent of whatever
         4    not.                                                              4    expenditures she incurred over the course of a year,
          5   BY MR. HICKEY:                                                     5   allocating the way we need to allocate, presumably rent
          6      Q Well, when we were going over the tax document,               6   and stuff like that. I’m not making any other
          7   which was, I believe, Exhibit 13, and you were asked               7   assumption beyond that.
          8   to--on one of the pages where she’s listing a                      8   BY MR. HICKEY:
         9    dependent, and she lists her dependent as “Tanika Long.”          9      Q Okay. What time frame are you referring to in
        10    So in that context, do you have an understanding of what         10    this sentence, “I have concluded that the decedent
        11    the word “dependent” means in that context?                      11    provided more than 50 percent of Tanika’s support”?
        12      A I know you can claim them as a write-off on your             12    What’s the time frame?
        13    tax. As I stated earlier, I’m a Ph.D.; I’m not a CPA.            13      A Time frame is at the time he passed away.
        14    I don’t know if that means they spend 50 percent plus            14      Q Okay. Back to when?
        15    one of the individual support or what. Ijust -- I                15      A I don’t know. Obviously, the last document we
        16    don’t know.                                                      16    have here is October of 2010. He passes away in March
        17      Q Okay. So as you sit here today, you have no                  17    of2Oll. So I don’t know. And as sit here right now, I
        18    understanding of the difference between the terms -- if          18    don’t know whether the depo testimony sheds any light on
        19    someone says someone is supporting someone or someone i          19    whether there was some sort of change over the last
        20    dependent on that person’s support, that doesn’t mean            20    several months before his passing in terms of who paid
        21    anything to you? The difference between those terms or           21    for what. It’s -- I mean, it is what it is I can -- I
        22    those phrases don’t mean anything to you?                        22    rely on the testimony, and if ultimately I am instructed
        23      A Well, sure, there’s a difference, because if you             23    not to rely on the testimony then so be it But it’s
        24    don’t support that person, that person is not able to            24    obviously not coming from me. I am relying on this as
        25    support themselves.                                              25    being the way things were when Mr. Fontalvo passed away.
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           I       Q Okay. So just to be clear, the time frame here               1         MR. MONTANARI I’m going to mark this as 18,
          2     is at the time of his death?                                      2    please.
          3       A Yes.                                                          3        (Exhibit 18 was marked for identification by
          4        Q Okay. All right. Thanks. That’s all the                      4        the court reporter and is attached hereto.)
          5     questions I have.                                                 5        MR. HICKEY: What was 17?
          6          MR. MONTANARI: I don’t think I have anything                 6        MR. MONTANARI: Seventeen was this, “Expenditure
          7     further, but I do want to mark -- what do we have?                7   on Children By Families, 2015.”
          8          THE WITNESS: We marked that already.                         8        And 16 is the packet of the transmittal e-mails.
          9          MR. MONTANARI: This file is --                               9        MR. SHEPARDSON: And you want a copy of that?
         10          THE WITNESS: You marked that.                              10         MR. MONTANARI: To give to the court reporter.
         11          MR. MONTANARI: The CD is the documents you                 11    He wants these back, I assume.
        12     received?                                                        12         MR. SHEPARDSON: You do?
        13           THE WITNESS: Everything that is on the                     13         MR. MONTANARI: You want these back?
        14     directory, that’s also in this folder. It’s two pages.           14         THE WITNESS: I don’t care about that. I
        15     And this is Dr. Udinsky’s --not all of his report, but           15    absolutely want that back.
        16     a portion of it and the study he relied upon.                    16         MR. SHEPARDSON: Okay.
        17           MR. MONTANARI: This one is the study he relied             17         THE WITNESS: I would have to kill another tree.
        18     upon?                                                            18    Let someone else kill it.
        19           THE WITNESS: Yes. I know at least some of that             19         MR. MONTANARI: Normal stip? Oh, she doesn’t
        20     was produced at his depo, but I don’t know whether the           20    know the stip.
        21     entire report was produced.                                      21         MR. SHEPARDSON: Right.
        22           MR. MONTANARI: What is this? This just looks               22         MR. MONTANARI: I propose the stipulation that
        23     like correspondence.                                             23    the original be sent to plaintiffs counsel Marshall
        24           THE WITNESS: You actually marked the directory             24    Shepardson; that he may then provide that to
        25     as part of Exhibit 3, the directory documents.                   25    Mr. Fractor; Mr. Fractor has 30 days to review, make any
                                                                      Page 70                                                               Page 72
          I          MR. MONTANARI: I would like to mark these                    1   changes he deems appropriate and sign or elect not to
          2     collectively. These appear to be transmittal documents.           2   sign it under penalty of perjury; the original will then
          3     What’s the next one in order?                                     3   be returned to Mr. Shepardson who will relieve the court
         4           THE REPORTER: Sixteen.                                      4    reporter of any statutory duty to maintain the original;
          5          (Exhibit 16 was marked for identification by                 5   Mr. Shepardson will advise all counsel of any changes
          6          the court reporter and is attached hereto.)                  6   that are made and whether it has been signed; and he
          7          MR. MONTANARI: If you can copy this and give the            7    will agree to make the original available on any
          8     original one back.                                                8   reasonable request; if not so available, an unsigned
         9           MR. SHEPARDSON: That wasn’t already included?               9    copy may be used with the same force and effect as
        10           MR. MONTANARI: I don’t think so, Marshall. And             10    though a signed original.
        11      17 is the expenditures, because I just want to make sure        II         MR. SHEPARDSON: Yeah. I will stipulate to that.
        12     I’m looking at the same thing he is.                             12         MR. HICKEY: Stipulate.
        13           (Exhibit 17 was marked for identification by               13         THE REPORTER: Counsel, do you need a copy?
        14           the court reporter and is attached hereto.)                14         MR. HICKEY: Yes, I do.
        15           MR. MONTANARI: And I guess we need to mark tha             15
        16     as 18.                                                           16              (TIME NOTED: 1:04p.m.)
        17           MR. SHEPARDSON: What is this?                              17
        18           THE WITNESS: Those are the documents that are in           18
        19     the directory that is actually part of Exhibit 3. And            19
        20     this is what your office sent to me.                             20
        21           MR. SHEPARDSON: And so you want an extra copy?             21
        22     You need this back; right?                                       22
        23           THE WITNESS: I do not need that back. That can             23
        24     be an exhibit to the depo itself, because we have all            24
        25     those documents.                                                 25
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